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                                                     SEALED
10                    IN THE UNITED STATES DISTRICT COURT
11                       EASTERN DISTRICT OF CALIFORNIA
12

13   [UNDER SEAL]                              Case No. 2:09-CV-0279 WBX EFB
14                     Relator,               FIRST AMENDED COMPLAINT AND
                                              JURY TRIAL DEMAND
15         v.
                                              FILED IN CAMERA
16   [UNDER SEAL]                             AND UNDER SEAL
                                              PURSUANT TO
17                     Defendant.             31 u.s.c. § 3730
18                                            DO NOT ENTER INTO PACER
19                                            DO NOT PLACE IN PRESS BOX
20
21

22
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24

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26
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28

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                        First Amended Complaint and Demand for Jury Trial
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 1    UNITED STATES OF AMERICA
      ex rel. Adolfo Schroeder, Relator,
 2                                                  Civil Action No. - - - - -
      STATE OF ARKANSAS ex rel.
 3    Adolfo Schroeder, Relator,
                                                    FIRST AMENDED
 4    STATE OF CALIFORNIA ex rel.                   COMPLAINT AND JURY
      Adolfo Schroeder, Relator,                    TRIAL DEMAND
 5
      STATE OF DELAWARE ex rel.
 6    Adolfo Schroeder, Relator,                    FILED IN CAMERA
                                                    AND UNDER SEAL
 7    DISTRICT OF COLUMBIA ex rel.                  PURSUANT TO
      Adolfo Schroeder, Relator,                    31 u.s.c. § 3730
                                              ~
 8
      STATE OF FLORIDA ex rel. Adolfo               DO NOT          ENTER   INTO
 9    Schroeder, Relator,                     §     PACER
10    STATE OF GEORGIA ex rel. Adolfo               DO NOT PLACE IN PRESS
      Schroeder, Relator,                           BOX
11
      STATE OF HAWAII ex rel. Adolfo
12    Schroeder, Relator,
13    STATE OF ILLINOIS ex rel. Adolfo
      Schroeder, Relator,
14
      STATE OF INDIANA ex rel. Adolfo
15    Schroeder, Relator,
16

17
      STATE OF LOUISIANA ex rel.
      Adolfo Schroeder, Relator,              §~
      STATE OF MASSACHUSETTS ex
18    rel. Adolfo Schroeder, Relator,
19    STATE OF MICHIGAN ex rel.
      Adolfo Schroeder, Relator,
20
      STATE OF MONTANA ex rel.


                                             I
21    Adolfo Schroeder, Relator,
22    STATE OF NEVADA ex rel. Adolfo
      Schroeder, Relator,
23
      STATE OF NEW HAMPSHIRE ex
24    rel. Adolfo Schroeder, Relator,
25    STATE OF NEW JERSEY ex rel.
      Adolfo Schroeder, Relator,  !§
26
      STATE OF NEW MEXICO ex rel.
27    Adolfo Schroeder, Relator,
28
     -------~
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 1    STATE OF NEW YORK ex rel.
      Adolfo Schroeder, Relator,
 2
      STATE OF OKLAHOMA ex rel.
 3    Adolfo Schroeder, Relator,
 4    STATE OF RHODE ISLAND ex rel.
      Adolfo Schroeder, Relator,
 5
      STATE OF TENNESSEE ex rel.
 6    Adolfo Schroeder, Relator,
 7    STATE OF TEXAS ex rel. Adolfo
      Schroeder, Relator,
 8
      STATE OF VIRGINIA ex rel. Adolfo
 9    Schroeder, Relator,
10    STATE OF WISCONSIN ex rel.
      Adolfo Schroeder, Relator,
11
      vs.


                                             I
12
      MEDTRONIC INC.
13
      Defendants.
14

15

16     COMPLAINT FOR DAMAGES UNDER THE FEDERAL FALSE CLAIMS
17     ACT AND VARIOUS STATE FALSE CLAIMS ACTS AND DEMAND FOR
18                                     JURY TRIAL
19                               I.     INTRODUCTION
20          1.   Medtronic Inc. ("Medtronic") is a medical technology company that
21   manufactures healthcare products.     Medtronic's business areas include Cardiac
22   Rhythm Disease Management ("CRDM"), Spinal and Biologics, Cardio Vascular,
23   Neuromodulation, Diabetes, and Surgical Technologies. Within its CRDM
24   business, Medtronic produces and markets pacemakers to treat patients with
25   bradycardia (too-slow heartbeat), implantable defibrillators to help patients with
26   tachyarrhythmia (too-fast heartbeat), and diagnostic and monitoring devices that
27   diagnose heart-related syncope (unexplained fainting), among other products.
28   Medtronic also makes the leads that connect these devices to the heart. The Food
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 1   and Drug Administration ("FDA") has approved these devices for use m
 2   monitoring and correcting heart rates that are out of rhythm.
 3         2.     In order to increase sales of their CRDM devices, Medtronic has
 4   illegally provided monetary and other incentives for physicians who were willing to
 5   implant the devices.      Medtronic trained and instructed sales representatives,
 6   business and marketing managers, and other executives to offer physicians cash
 7   payments, expensive trips and meals, expensive gifts, and entertainment to
 8   physicians as kickbacks m exchange for the physicians' agreement to implant
 9   Medtronic devices.
10         3.     Medtronic also promoted non-FDA-approved, or "off-label" use of
11   CRDM devices.        Medtronic funneled millions of dollars in unrestricted grant
12   money to physicians in order to encourage them to speak and publish articles
13   supporting the use of Medtronic CRDM products in asymptomatic patients and
14   patients whose mild heart failure symptoms did not meet the FDA criteria for an
15   implantable device.     Specifically, Medtronic targeted, developed, and trained
16   physician "Key Opinion Leaders" ("KOL"s ), influential doctors whom Medtronic
17   supported monetarily.     Medtronic, in turn, expected these KOLs to support
18   Medtronic device use among asymptomatic patients and patients with only mild
19   symptoms of heart failure. Medtronic then pointed to the KOLs' use of CRDM
20   devices when promoting the devices widely among other cardiologists and
21   electrophysiologists throughout the country.
22         4.     Consistent with its scheme to provide illegal incentives to doctors who
23   implanted its devices, Medtronic also gave kickbacks to physicians for off-label use
24   of the devices, providing the physicians with speaking opportunities, unrestricted
25   educational grants, travel, lavish meals, gifts of wine and alcohol, trips to strip
26   clubs, and honoraria to promote and implant Medtronic CRDM devices off-label.
27   Paid travel included trips to San Francisco, Las Vegas, New Orleans, New York,
28   Atlanta, Chicago, San Diego, Minneapolis, and other locations. At these "fly-to"
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 1   events doctors would sometimes come just for vacation, and would not attend the
 2   majority of the "educational" seminars offered by Medtronic. Medtronic knew that
 3   many physicians viewed Medtronic' s paid travel offers as simply a free vacation,
 4   but continued to encourage the physicians' attendance as a form of quid pro quo for
 5   increased sales of CRDM devices.
 6         5.       Medtronic' s efforts to promote implantable cardioverter-defibrillators
 7   ("ICD"s) for use in people who do not need the devices has been damaging to the
 8   government and to patients, because their diagnosis, treatment, and implants were
 9   unnecessary.     At least one study has revealed that more than 75% of ICD devices
1O   never deliver any shock at all-in other words, there is little or no benefit from
11   these devices, for which federal and state governments have paid the bill. For
12   example, a January 20, 2005 study published in the New England Journal of
13   Medicine found that only 21.35% of 829 patients implanted with an ICD received a
14   therapeutic shock for the indicated heart failure problem (See Dr. Gust H. Bardy, et
15   al, "Amiodarone or an Implantable Cardioverter-Defibrillator for Congestive Heart
16   Failure," The New England Journal of Medicine, Jan. 20, 2005, attached hereto as
17   Exhibit 1).
18         6.       Medtronic's scheme to promote the broad off-label use of Medtronic's
19   CRDM devices among asymptomatic and mildly symptomatic patients and to
20   influence studies promoting Medtronic's CRDM devices for.use in such patients is
21   dangerous.     A 2008 study published in The New England Journal of Medicine
22   noted that 17.4% of persons with a Medtronic implantable cardio-defibrillator
23   (ICD) received an inappropriate shock, and that for all shocked patients, there was a
24   significant increase in the rate of death due to progressive heart failure compared to
25   patients who received no shock. The study found that 10.73% of the patients
26   received only inappropriate shocks from the devices, and that inappropriate ICD
27   shocks nearly doubled the risk of death in implantees (See Dr. Jeanne E. Poole, et
28   al, "Prognostic Importance of Defibrillator Shocks in Patients with Heart Failure,"
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 1   The New England Journal of Medicine, Sep. 4, 2008, attached hereto as Exhibit 2).
 2   An April 8, 2008 review of 719 patients in the MADIT II study of ICD devices
 3   found that 11.5% of implantees received an inappropriate shock, causing increased
 4   risk of death from all causes. (See Dr. James P. Daubert, et al., "Inappropriate
 5   Implantable Cardioverter-Defirillator Shocks in MADIT II," Journal of the
 6   American College of Cardiology, April 8, 2008, attached hereto as Exhibit 3).
 7   Medtronic's scheme to promote CRDM devices for off-label use in mildly
 8   symptomatic and asymptomatic heart failure patients was thus both illegal and
 9   dangerous.
10         7.     Additionally, Medtronic's CRDM devices were not superior to other
11   similar devices made by other companies on the market.            As described in this
12   Complaint, Medtronic's scheme to promote the devices for off-label use, and to pay
13   kickbacks and give gifts to physicians who would agree to use Medtronic devices
14   resulted in financial damage to state and federal health care systems.
15         8.     Federal laws and regulations governing Medicaid and Medicare and
16   similar state statutes prohibit medical device manufacturers from providing
17   kickbacks to physicians and medical care providers.           Specifically, the federal
18   healthcare program anti-kickback provision, 42 U.S.C. § 1320a-7b(b) (2)(B),
19   provides:
20
           [W]hoever knowingly and willfully offers or pays any remuneration
21         (including any kickback, bribe, or rebate) directly or indirectly, overtly
22         or covertly, in cash or in kind to any person to induce such person ... to
           purchase, lease, order, or arrange for or recommend purchasing, leasing,
23         or ordering any good, facility, service, or item for which payment may
24         be made in whole or in part under a Federal health care program, shall
           be guilty of a felony and upon conviction thereof, shall be fined not
25         more than $25,000 or imprisoned for not more than five years, or both.
26         9.     The Medicare and Medicaid anti-kickback laws, 42 U.S.C. 1320a-
27   7b(b), et seq., regulate drug and device marketing in order to prevent over-
28   utilization of medical care, medication, and medical devices. Under the anti-
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 1   kickback laws, companies may not offer or pay any remuneration, in cash or kind,
 2   to induce physicians or others to order or recommend drugs or devices which may
 3   be paid for by a federal healthcare program such as Medicare or Medicaid. These
 4   regulations not only prohibit outright bribes and rebate schemes, but prohibit any
 5   payment, remuneration, gratuities, and other benefits paid by a company to a
 6   physician which has as one of its purposes inducing the physician to use the
 7   company's products.
 8         10.    In addition to the anti-kickback laws, §1877 of the Social Security Act,
 9   often referred to as the "Stark law," provides that a physician cannot (1) refer
10   patients to an entity (2) for the furnishing of DHS (designated health services) (3) if
11   there is a direct or indirect financial relationship between the referring physician (or
12   an immediate family member of the referring physician) and the entity, (4) unless
13   the financial relationship fits within one of the specific exceptions in the statute or
14   regulations. See 42 U.S.C. § 1395nn. For purposes of the Stark law, DHS includes
15   durable medical equipment and supplies. Unlike the Medicare Anti-Kickback
16   Statute, which is a criminal statute requiring at least some measure of criminal
17   intent, the Stark Statute is a civil statute requiring strict compliance.     Intent to
18   violate or substantial compliance has no bearing on whether an activity is or is not
19   legal. Violation, no matter how unintentional or technical, is sufficient to invoke
20   the Stark Statute. Lastly, if a prohibited referral occurs under Stark, the DHS entity
21   may not file or cause to be filed a claim under Medicare or Medicaid or a bill to any
22   individual, third party payer, or other entity for the designated health services
23   provided.
24         11.    Had the United States and the several States known that CRDM
25   devices were being used by facilities because physicians in those facilities had
26   accepted kickbacks from Medtronic, the United States and the several States would
27   not have funded these illegal kickbacks after the fact by providing reimbursement
28   for Medtronic devices.
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 1          12.   Moreover, the kickbacks described in this Complaint are strictly illegal
 2   and have had the direct effect of greatly increasing the amount of CRDM devices
 3   that have been paid for and reimbursed by the government.              Accordingly, the
 4   kickbacks have had the indirect effect of increasing the amount of money spent by
 5   the federal government and the States for payments and reimbursements covered by
 6   Medicaid, Medicare, and the TRICARE health care system for members of the
 7   military and their families. Medtronic's kickbacks to physicians represents the
 8   inducement of payment from the government through a pattern of fraudulent
 9   conduct, constituting false claims within the meaning of 31 U.S.C. § 3729 and the
1O   relevant provisions of the state false claims and state and federal healthcare system
11   fraud statutes.
12                                     II.    PARTIES
13          13.   Relator Aldolfo Schroeder has worked in pharmaceutical and medical
14   device sales since February 1996, and started at Medtronic in May 2006.             At
15   Medtronic, Mr. Schroeder was a Business Development Manager who promoted
16   CRDM devices. Mr. Schroeder participated in regular company training events,
17   including events at Medtronic's headquarters in Minneapolis. He also attended
18   national and regional sales training conferences, where he interacted with various
19   company marketing executives and managers. Mr. Schroeder left Medtronic in July
20   2007 and now works for CardioNet promoting Mobile Cardiac Outpatient
21   Telemetry devices.     While at Medtronic, Mr. Schroeder developed first-hand
22   knowledge of the facts set forth in this Complaint. Mr. Schroeder is therefore an
23   original source of the facts and information set forth in this Complaint concerning
24   the activities of Medtronic.
25          14.   The facts averred m this Complaint are based entirely upon the
26   personal observations of Mr. Schroeder and documents in his possession.
27         15.    Mr. Schroeder has provided or is providing to the United States
28   Attorney and the Attorneys General of Arkansas, California, Delaware, Florida,
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 1   Georgia, Hawaii, Illinois, Indiana, Louisiana, Massachusetts, Michigan, Montana,
 2   New Hampshire, New Jersey, New Mexico, New York, Nevada, Oklahoma, Rhode
 3   Island, Tennessee, Texas, Virginia, Wisconsin and the District of Columbia a full
 4   disclosure of substantially all material facts supporting this Complaint, as required
 5   by the False Claims Act, 31 U.S.C. § 3730(b)(2), and relevant state statutes.
 6         16.    Defendant Medtronic is incorporated in the United States in the State
 7   of Minnesota.    Medtronic has its world corporate headquarters in Minneapolis,
 8   Minnesota.    Medtronic is principally engaged in the manufacture and sale of
 9   healthcare technology products including pacemakers, implantable cardioverter
1O   defibrillators, and cardiac resynchronization therapy defibrillators falling under the
11   jurisdiction and regulation of the U.S. Food and Drug Administration. Devices
12   manufactured and marketed by Medtronic include the Concerto CRT-D (cardiac
13   resynchronization therapy and defibrillator) and Virtuoso DR ICD (implantable
14   cardioverter defibrillator); the InSync Sentry CRT-D, the OptiVol fluid status
15   monitoring device; CardioSight and Cardiac Compass cardiac monitoring devices;
16   Reveal insertable loop recorder; sprint-fidelis lead system and other lead systems;
17   cardiac compass monitoring device; carelink monitoring wireless at home system;
18   and any additional ICD, CRT, pacemaker, fluid monitoring, cardiac monitoring
19   devices, processes and lead systems sold by Medtronic from 2002 to present.
20                         III.   JURISDICTION AND VENUE
21         17.    This action arises under the False Claims Act, 31 U.S.C. §§ 3729 et
22   seq. This Court has jurisdiction over this case pursuant to 31 U.S.C. §§ 3732(a)
23   and 3730(b ). This court also has jurisdiction pursuant to 28 U.S.C. § 1345 and 28
24   U.S.C. § 1331. This court has jurisdiction over the state law counts asserted in this
25   Complaint under both 31 U.S.C. § 3732(b) and 28 U.S.C. § 1367, because the state
26   claims arise from the same transaction or occurrence as the federal claims and
27   because these claims are so related to the federal claims that they form part of the
28   same case or controversy under Article III of the U.S. Constitution.
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             18.    At all times material to this Complaint, Medtronic regularly conducted
 2    substantial business within the State of California, maintained permanent
 3    employees and offices in California, and made and is making significant sales
 4    within California. Medtronic is thus subject to personal jurisdiction in California.
 5           19.   Venue is proper in this district pursuant to 31 U.S.C. § 3732(a)
 6    because Medtronic transacts business in this district, selling and promoting its
 7    devices to multiple hospitals in this district.
 8                                       IV. FACTS
 9    A.     Medtronic Illegally Promoted Implantation of CRDM Devices by
             Providing Kickbacks to Physicians and Researchers.
10

11           20.   Medtronic used illegal kickbacks and quid pro quo arrangements to
12    ensure that physicians would continue to implant Medtronic's devices. None of
13    these incentives have anything to do with true scientific or medical research or with
14    the safety of patients. These incentives include cash payments to "consultants" and
15    "preceptors", cash payments for a "speakers bureau" and to national and regional
16    "advisory boards" and for participation in teleconferences, post-market research,
17    "case studies", paid travel, and paid sporting activities, as well as the other
18    activities described herein.
19          21.    Medtronic rewarded doctors with kickbacks for implanting large
20    quantities of Medtronic devices. Some doctors, who implanted a large number of
21    Medtronic devices, were given gifts including outdoor sports activities, gift cards,
22    expensive meals, and tickets to professional sports games. Medtronic also expected
23    sales representatives to supply some doctors with gifts of wine and alcohol; and to
24    take them to strip clubs. Adolfo Schroeder had personal knowledge of gifts of
25    alcohol for physicians, and of paid visits to strip clubs for physicians.
26          22.    Medtronic established formal internal guidelines for the award of these
27   benefits to physicians which are based entirely on the amount of implants
28   performed by the physicians and the ability of the physician to influence other
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 1    physicians to begin implanting Medtronic devices. The recipients of these awards
 2    and benefits were selected by the Medtronic marketing department based on the
 3    recipients' ability to implant Medtronic heart devices and to influence other doctors
 4    to do so.
 5          23.    Some doctors demanded payment from Medtronic as a speaker, a
 6    researcher in order to use Medtronic devices, or demanded Medtronic pay for lunch
 7    or dinner for the physicians' entire office or the physicians' friends. Medtronic
 8    managers would generally agree to pay, and would instruct sales representatives to
 9    arrange the paid activity for the doctor. Medtronic sales representatives were then
1O    responsible for following through to ensure that Medtronic generated CRDM
11    device sales based on the provision of the quid pro quo payment.
12          24.    For example, Dr. Harry Balian requested the ability to make money
13    from Medtronic as a frequent speaker in order to implant Medtronic' s CRDM
14    devices.    A March 19, 2007 Medtronic "Target Update" document indicated that
15    Dr. Balian had been speaking for Medtronic, and in return had "referred and asked
16    for Medtronic ICD and Pacemakers" (attached hereto as Exhibit 4). In addition, a
17    February 20, 2007 field evaluation of Adolfo Schroeder by Medtronic Regional
18    Sales Director Gary Sterling stated about Dr. John McKenzie "We do know what
19    he wants" in reference to Dr. John McKenzie asking for paid research studies and
20    paid speaking engagements in order to increase his use of Medtronic devices
21    (attached hereto as Exhibit 5).
22          25.    Medtronic knew that its provision of kickbacks to these physicians and
23    researchers was illegal and made efforts to conceal its illegal, fraudulent scheme by
24    funneling some payments through 3rd party consulting organizations. Medtronic
25    also understood that its provision of these kickbacks actually caused CRDM
26    devices to be used for off-label purposes. Many of these devices were paid for by
27    Medicaid, Medicare, and the TRICARE health care system for military members
28    and their familes. Had the United States and the several States known that these
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 1    devices were used due to a fraudulent kickback scheme, they would not have
 2    provided reimbursement for these devices.
 3
            1.     Medtronic Paid Physicians Honoraria, Free Travel, and Lavish
 4                 Meals and Accommodations to Attend Events Promoting the Use
 5                 of CRDM Devices.

 6          26.    In its efforts to promote the use of CRDM devices in patients with

 7
      minor hemi failure symptoms or no symptoms, Medtronic provided honoraria, free

 8    travel, and lavish meals and accommodations to key opinion leaders and other

 9
      physicians to attend conferences, symposia, and other events where CRDM devices

10    were being promoted.

11
            27.    Medtronic restaurant dinners were lavish, sporting event tickets

12
      included box suites for family and friends with no educational component, sports

13    and recreational outings could cost several hundred dollars, and resort weekends

14    were at expensive hotels and required little or no attendance at consultant meetings

15
      and no actual consultations. The remuneration and gifts directly took into account

16
      the volume and value of the business generated, and were only given to physicians

17
      who had used or would agree to use the Medtronic devices. The remuneration and

18
      gifts were often lavish, not modest in nature.

19
            28.    Many dinner meetings consisted of lavish dinners at local restaurants.

20    The emphasis at some of these meetings was also on off-label uses of Medtronic

21
      devices, and hundreds to thousands of dollars worth of honoraria were paid to

22    physicians who spoke about off-label uses at these meetings. High volume

23
      implanting doctors and local opinion leaders were the only ones targeted for

24
      invitation. High volume implanting Medicaid and Medicare doctors were often

25
      specifically targeted for invitation. At all of the events physicians were encouraged

26    to increase their use of Medtronic devices.

27
            29.    Medtronic ensured that cash, dinners and gifts were often targeted

28
      specifically at high Medicare and Medicaid implanting doctors, to increase market

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 1    share within the Medicaid and Medicare programs, and to influence the market
 2    share status of Medtronic devices within the Medicaid and Medicare programs. In
 3    addition, cash, dinners and gifts were often targeted at high Medicaid and Medicare
 4    volume facilities in order to increase Medtronic reimbursements. Also, purchasing
 5    committee members at high volume Medicaid facilities were specifically targeted
 6    for cash, gifts, grants and dinners to purchase Medtronic devices for their
 7    inventories and increase Medtronic's reimbursements.
 8          30.    Medtronic sales representatives were instructed to distribute gifts,
 9    checks for expenses and research, invitations to lavish dinners and resort weekends,
1O    basketball tickets and other entertainment exclusively to targeted high volume
11    implanters or referral sources in order to meet the representatives' required sales
12    levels for bonus payouts each quarter.        Medtronic sales representatives were
13    instructed to target cardiologists who referred patients to electrophysiologists for
14    implants, and give them gifts, buy them expensive meals, and send them on paid
15    travel. Medtronic determined that referral cardiologists would often agree to ask
16    for a Medtronic implant upon patient referral, if the cardiologist was given
17    remuneration    and    gifts.     Medtronic     promoted     this      program   because
18    electrophysiologists would often use the preferred device of the referral cardiologist
19    when performing the implant.
20          31.    Paii of the July 20, 2004 "game plan" for Medtronic sales reps in their
21    Business Plan was to pay for doctors to attend dinners, lunches and pay for travel,
22    hotel stays and lavish meals at regional and national meetings in order to increase
23    the doctors' business with Medtronic. (attached hereto as Exhibit 6)
24          32.    On May 24, 2007, Medtronic paid for lunch and dinner for
25    electrophysiologists, nurse practitioners, and cardiologists at Oregon Health &
26    Science University, including dinner at the expensive and famous Wildwood
27   restaurant in Portland. ("AV Optimization Symposium sponsored by Medtronic",
28    attached hereto as Exhibit 7)
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 1           33.      A December 6, 2006 dinner paid for by Medtronic at the Pacific
 2    Dining Car in Los Angeles was for the nurses at Los Angeles Cardiology, and was
 3    intended to make the electrophysiologists at the clinic happy and more likely to use
 4    Medtronic CRDM devices on their patients. ("December 6th Dinner Program",
 5    attached hereto as Exhibit 8)
 6           34.      On June 21, 2007, Medtronic invited doctors to a dinner at Ruth's
 7    Chris Steakhouse to hear a talk on Device Technology within a Heart Failure
 8    Management Clinic. ( "Save the Date - Ruth's Chris Steak House", attached hereto
 9    as Exhibit 9)
1O           35.      On January 22, 2007, relator Adolfo Schroeder filled out a statistics
11    report given him by his District Sales Manager, and reported his compliance to
12    Medtronic instructions that he had sent 5 doctors on meetings involving paid travel,
13    more than 20 to dinners and meetings with meals, had paid support money to Dr.
14    Leslie Saxon at USC for her Heart Failure Symposium, and had presented a dinner
15    for doctors at the Good Samaritan hospital in Los Angeles (See "End of the quaiier
16    info ... ", attached hereto as Exhibit 10).
17           36.      In the Medtronic 2006 TSS Plan business plan, Dr. 's Harry Rockoff
18    and George Grifka from Metro Heaii clinic in Santa Monica, California were
19    targeted for Medtronic paid travel to an event in New York in order to achieve the
20    "Desired Result" of "Increased adopt[ion] of Rx and MDT [Medtronic] devices".
21    Dr. Mark Lurie and a nurse practitioner from a Torrance, California cardiology
22    clinic were also targeted to attend a San Diego Medtronic event in January, 2006, in
23    order to "increase buy-in to Medtronic approaches to HF [heart failure]." (attached
24    hereto as Exhibit 11)
25          37.       In the Medtronic 2006 TSS Plan business plan, Medtronic also
26    targeted Dr. Seidman from Cario Medical Consult Group in Lynwood/Downey,
27    California to receive paid travel to a Las Vegas Medtronic event in February, and
28    have dinner with a sales rep, in order to get the clinic to increase use of Medtronic
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 1    heart failure products. The doctors at the clinic were also targeted to participate in
 2    "Case Studies", in which Medtronic paid physicians approximately $250 each time
 3    to discuss patient cases with sales reps. (attached hereto as Exhibit 11)
 4          38.     In the Medtronic 2006 TSS Plan business plan, Dr. Doshi was targeted
 5    for flying to a "State of the Art Program in Feb[ruary]", and the plan was to "Go
 6    out a day early for relationship building - 4 wheeling, Dinner and attendance of
 7    program". The reason to bring him to the fly-to event early and pay for some "4
 8    wheeling" with him was to achieve the "Desired Result" of "Increase share with
 9    Doshi", and achieve more "Implants, access and relationships". (attached hereto as
10    Exhibit 11)
11          39.     In the February, 2005 Medtronic "Q3-Q4 AMP Business Plan", the
12    Medtronic sales staff planned to "Set 6 lunch (dinner) and learns for the quaiier
13    pretty much one per referral for the quarter" with referral physicians to increase the
14    number of implants for the quarter. Medtronic would pay for the lunches or dinners,
15    and in return expected a return on investment ("ROI") of between two and six
16    patients referred for Medtronic implants in the third quarter. (attached hereto as
17    Exhibit 12)
18          40.     A March 19, 2007 Medtronic "Target Update" document indicated that
19    a Physician's Assistant named Leticia at White Memorial hospital received paid
20    travel to Miami for a Medtronic program, and in return was "pushing" the use of
21    Medtronic CRDM monitoring devices at her hospital. (attached hereto as Exhibit 4)
22          41.     In the March 10, 2004 Medtronic "Marketing Plan" business plan,
23    sales reps were instructed to sell "referring cardiologists" using education, dinner,
24    and paid travel events. Sales reps were told to ask referring cardiologists to provide
25    the names of their "top 5 referral physicians (i.e., l.M.s, GP, OBGYNs - non-
26    cardiologists), regardless of need or symptoms. Sales reps were instructed to
27    "Develop and promote referral/education events" which included expensive dinners
28    and lunches and some paid travel programs to these non-cardiology physicians. The
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 1    result of these activities is that Medtronic sales reps were required to promote
 2    Medtronic implantable devices off-label to non-cardiology physicians such as
 3    general practitioners and OB-GYNs for off-label uses for their asymptomatic
 4    patients "regardless of need or symptoms". (attached hereto as Exhibit 13)
 5          42.    The Medtronic scheme was also carried out by the making of false
 6    statements and kickbacks to non-cardiology physicians, nurse practitioners, and
 7    nurses concerning the efficacy and safety of Medtronic devices for off-label uses. In
 8    some cases, Medtronic promoted Medtronic's devices off-label to these allied
 9    healthcare professionals in order to streamline the process of implanting devices
10    and overcome authorization requirements of Medicaid, Medicare and other
11    msurance payers.
12          43.    Part of the March 10, 2004 Medtronic "Market Development Plan"
13    included instructions to sell to OB-GYN's off-label, because "many [heart failure]
14    women are being seen by OBGYN". The objective of the off-label plan was to
15    "drive implant referrals", and sales reps were instructed to "measure and track" the
16    ROI of dinners and programs paid for this group of physicians, and to track "the
17    referral process". (attached hereto as Exhibit 13)
18          44.    The Medtronic 2006 TSS Plan business plan targeted a nurse from
19    Apex Cardiology in Inglewood, California to receive paid travel to attend a January
20    "Vegas program", in order to get the clinic to increase the use of Medtronic CRDM
21    devices. Additionally, a nurse practitioner from a clinic in the Lynwood/Downey,
22    California region was targeted for Medtronic paid travel to a January event in San
23    Diego, in order to increase clinic usage of Medtronic CRDM devices. (attached
24    hereto as Exhibit 11)
25          45.    In the March 10, 2004 Medtronic "Business Plan" document, sales
26    reps were instructed to budget appropriately to ensure funding of events and
27    expensive dinners for doctors. However, if an event was "out of reach for the
28    budget", then the sales reps were instructed to "work with management to justify
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 1    further investment based on ROI". (attached hereto as Exhibit 13)
 2           46.    Medtronic invited doctors and nurses to numerous weekend resort
 3    events, "drive to's" and "fly to's" that targeted, high implanting doctors. Often,
 4    high implanting Medicaid or Medicare doctors were specifically targeted for
 5    invitation.
 6           47.    Part of a Medtronic July 20, 2004 business plan was to select doctors
 7    who refer potential implant patients to the top volume implanters, and send 30 of
 8    the referral doctors to attend a regional event (paid hotel, possible paid flight), to
 9    attend a national event (paid hotel, paid flight), and to each participate in a paid
1O    lunch or dinner. The purpose for these paid trips and meals was to influence the
11    referring physicians to refer patients for Medtronic implants, and to "create
12    Medtronic brand loyalty with physicians". (attached hereto as Exhibit 6)
13           48.    Part of a November 16, 2005 Medtronic business plan included
14    instructions to increase "Access" to doctors (called "players") through paid travel
15    including airfare and hotel stays for out of town events called PSI Programs. The
16    business plan also included plans to fly nurse practitioners to events called "CAP II
17    programs" (attached hereto as Exhibit 14).
18           49.    On November 10, 2006, Registered Nurses Barbara Joachim, Cheryl
19    De la Cuezra, Nora Dalen, and Jadranka Borgudan were registered to take a
20    Medtronic two-day seminar at the Westin South Coast Plaza hotel, and the sales
21    representative's customer registration sheets listed them as needing paid hotel
22    rooms (See "Cardiac Devices: The HF-EP Connection", attached hereto as Exhibit
23    15).
24           50.    On May 10, 2007, Dr.s Boyd, Yeretzian, and Alexanian were invited
25    to Ruth's Chris Steak House in Pasadena, CA to hear a talk by Dr. Harry Balian on
26    Medtronic implant devices. It was advertised as an evening of "Dinner, Delicacies
27    and Discussion" in Pasadena. Dr. Balian was the paid speaker, but he only spoke
28    for about five minutes, and some attendees could not hear or see him. Most of the
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      attendees were technicians from Dr. Balian's catheterization laboratory ("cath lab"),
 2    and he wanted Medtronic to pay for their meals so that he would get a better
 3    schedule in the cath lab (See "Save the Date - Ruth's Chris Steak House", attached
 4    hereto as Exhibit 16).
 5          51.    Medtronic also directed sales representatives to educate physician
 6    staffs on how to bill Medicare, Medicaid and other insurers, in effect offering
 7    unpaid work from Medtronic employees to doctor's offices. The sole purpose of
 8    this action was to increase the sales of Medtronic devices through the Medicaid,
 9    Medicare and private insurance systems.
10          52.    For example, as part of the Medtronic 2006 TSS Plan business plan,
11    Dr. Mehdi Zargarian was to be supported by Medtronic by paying for a "referral
12    dinner for him and his group", to which his network of referral cardiologists and
13    physicians would be invited to attend. The Medtronic listed "Desired Result" for
14    the referral dinner was to "Keep flow of patients coming" in order to increase
15    Medtronic implant sales (attached hereto as Exhibit 11 ).
16          53.    The August 1, 2006 Medtronic "Project Wildfire" business plan
17    instructed sales reps to "Build Brand Loyalty" among referral physicians by flying
18    them on paid fly-to events with a hotel stay. The project's goal was to increase the
19    number of device implants by increasing the referral of patients to implanting
20    physicians. Sales reps were required to track referrals as part of the program (See
21    "Project Wildfire", attached hereto as Exhibit 17).
22          54.    Payment for dinner and other incentives to mcrease referrals to a
23    physician for the use of Medtronic CRDM devices is inappropriate and illegal.
24    According to the federal Health and Human Services Office of the Inspector
25    General (HHS OIG), paid meals would be inappropriate if they are tied directly or
26    indirectly to the generation of federal health care program business for the
27    manufacturer, or for the purposeful inducement of business.            See, e.g., 68 F.R.
28    2378 "these arrangements [entertainment, recreation, travel, meals, etc.] potentially
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 1    implicate the anti-kickback statute if any one purpose of the arrangement is to
 2    generate business."
 3          55.   Medtronic    representatives    would    frequently       use   lunches   and
 4    preceptorships-in-kind or cash benefits to physicians-in order to gain access to
 5    the physicians' patient medical records and recommend patients for diagnosis,
 6    treatment, and implantation that resulted in increased and unnecessary claims for
 7    reimbursement from state and federal health care systems.
 8          56.   Medtronic instructed sales representatives to entice doctors to use
 9    more Medtronic implantable CRDM devices by offering doctors the Medtronic
10    CardioSight monitoring device for free. CardioSight was a Medtronic device that
11    could be used in the doctor's office to monitor implanted Medtronic devices. The
12    CardioSight device could communicate with implanted CRDM devices and print
13    out a heart failure management report. Sales representatives were instructed to
14    entice physicians to implant more Medtronic devices by offering the CardioSight
15    equipment to doctors for free, and by telling doctors that they could increase their
16    practice income with CardioSight by bringing patients to their offices more often
17    for CardioSight readings. This was an illegal offer of in-kind compensation to
18    physicians as a "perk" and as a means for driving the implantation of Medtronic
19    CRDM devices and associated health care system claims for reimbursement.
20    III
21    III
22    III
23    III
24          2.    Medtronic Proffered Money to Physicians to Participate in
                  Promotional Activities in the Physicians' Offices.
25
            57.   In the Medtronic 2006 TSS Plan business plan, the sales reps were
26
      supposed to use "Tactics" which included paid preceptorships and "case studies" in
27
      which doctors were paid about $250 each time to discuss patient cases with sales
28

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      reps or to allow sales reps to "shadow" them during their work. Often the only
 2    reason for engaging in case studies and preceptorships was for Medtronic sales reps
 3    to find out which patients could be brought into the doctor's office for testing in
 4    order to increase sales of implant devices. Medtronic targeted 23 different doctors'
 5    offices and clinics to participate in paid Medtronic case studies. The business plan
 6    targeted specific doctors for the case studies, and listed "Desired Results" for each
 7   physician, such as "Create groundswell for Sentry implants" (attached hereto as
 8    Exhibit 11 ).
 9           58.      Medtronic gave doctors gift certificates to online medical supply stores
1O    or direct cash payments of up to one hundred dollars to watch a sales promotional
11   webinar at the physicians' office. Medtronic sales representatives were instructed to
12   bring lunch and a laptop to the physician's office, and set them up on the internet to
13   watch the webinar during a lunch. Supposedly, the sales representative was
14   supposed to elicit "feedback" on the quality of the presentation; however in reality,
15   no data was typically gathered or analyzed, and the entire purpose of the activity
16   was to pay the physician in order to increase the number of devices implanted.
17
            3.        Medtronic Concealed Some Illegal and Fraudulent Payments to
18                    Physicians by Funneling Them through Third Party Consultant
19                    Companies.

20
            59.       In order to hide illegal payments to physicians, Medtronic made many
21
     payments to doctors through the Maritz McGettigan travel company.                 Maritz
22
     McGettigan reimbursed travel expenses, and arranged and paid for travel including
23
     airfare and expensive hotel rooms and meals.
24
            60.       Medtronic sales reps received an email from ASI Marketing on March
25
     13, 2006, saying that for Medtronic, ASI was "your right arm when it comes to
26
     planning consumer education seminars".               The company intended to assist
27
     Medtronic run promotional events for an "elderly consumer audience" (attached
28

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 1    hereto as Exhibit 18).
 2
            4.     Medtronic Knew Its Payments to Physicians Were Illegal Because
 3                 They Were Intended for the Purposeful Inducement of Business.
 4          61.    Medtronic knew its payments to physicians were illegal kickbacks. In
 5    fact, it provided its personnel with guidelines that indicated that field employees
 6    could occasionally provide modest meals or snacks to health care professionals
 7    where the primary purpose is an informational presentation. However, Medtronic
 8    dinner events with paid speakers were often a sham, with the speaker getting paid
 9    $1,000 or more but having no real responsibility. Doctors received prepared slides
1O    from Medtronic to speak from, so that the doctors did not have to put forth any
11    effort to prepare a presentation. Doctors often simply opened a laptop on the table
12    at dinner with some slides on it, and then only spoke for five to ten minutes, or did
13    not speak at all and simply enjoyed the lavish dinner with the other attendees.
14
            5.     Medtronic's Payment of Illegal Kickbacks to Physicians Actually
15                 Affected the Use of CRDM Devices in Hospitals and Cardiology
16                 Clinics
17          62.    Medtronic's scheme to pay physicians resulted in specific sales.

18    Medtronic, like most branded device companies, monitors the relationship of its

19    sales to its promotional efforts over a very short timeframe; Medtronic would be

20    concerned about a drop in sales within a certain therapeutic regime not after a year

21
      look-back, or even a quarterly look-back, but over a period of just weeks.

22    Medtronic marketing and sales strategy documents show that at least on a quarterly

23   basis Medtronic was tracking implant volume by physician, and tracking the

24   percentage change in implanting habits of physicians for Medtronic devices. In

25    addition, Medtronic tracked the ROI or return on investment of paid travel and

26    expensive meals for physicians. Medtronic sales representatives were instructed to

27    ask physicians for additional implants when the physicians were paid to attend a

28   lavish dinner event, and told to track follow-up implants by the physician, and to

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 1    hold the physicians accountable if the physicians did not increase Medtronic
 2    implants. Physicians were made aware by sales representatives that the physicians
 3    would not continue to be invited to lavish dinners and resort weekends if the
 4    physicians did not remain in the high volume implanter range, and if the physicians
 5    did not implant Medtronic devices. Physicians who did not continue to implant
 6    Medtronic devices were tracked on a quarterly basis by Medtronic marketing and
 7    sales personnel, and were sometimes penalized by being taken off target lists for
 8    invitations to future lavish dinners and resort weekends.
 9          63.    For example, the Medtronic 2006 TSS Plan business plan tracked the
1O    number of "HP MDT [high-powered Medtronic] Annual Implants" for some
11    implanting doctors in the Ton-ance, California region. Information was included to
12    instruct Medtronic sales reps on which physicians in the implant doctor's refen-ing
13    networks should be targeted (attached hereto as Exhibit 11 ).
14          64.    For example, a March 19, 2007 "Target Update" document by
15    Medtronic indicated that a number of doctors had been given lunches and travel in
16    return for business or refen-als. Dr. Thanh Nguyen had received "several lunch in-
17    services" for his group at Glendale Adventist hospital, and as a result he "refen-ed
18    pts and requested Medtronic". Dr. Martha Preciado at White Memorial had been the
19    beneficiary of "several lunch in-services".        Dr. Onkar Marwah at Glendale
20    Memorial had received "Out of office lunches" and requested to attend paid travel
21    events; as a result he "will always request Medtronic". Dr. Peter Fung at Glendale
22    Memorial, Alhambra and Methodist hospitals had received lunches and "was sent
23    to San Francisco [event] even though it was canceled". nr. Stanley \Vishner at
24    Good Samaritan hospital received lunch in-services, and began "Using more
25    Medtronic". (attached hereto as Exhibit 4)
26          65.   The Medtronic February 8, 2005 "Q3-Q4 AMP Business Plan" called
27    for flying Dr. Kaushal Tamboli to a meeting in New York, and possibly to a
28    meeting in San Francisco, and then getting "commitment to [January] implants".
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 1    Dr. Tamboli was a physician who referred to implanting physician Anantjit Singh,
 2    and the business plan detailed efforts to increase his number of referrals for
 3    Medtronic devices to Dr. Singh. As a result of the paid travel, Medtronic expected
 4    Dr. Tamboli to refer 6 patients for implants in the 3rd quarter, and 9 patients for
 5    implants in the 4th quarter. Part of the business plan discussed the "Events, $$,
 6    people to implement the strategies" in order to get Dr. Tamboli and others to
 7    increase referrals, and set specific "Anticipated ROI" targets and anticipated "ROI
 8    Timing". The document also had a space for "ROI Status", for Medtronic sales reps
 9    to follow Dr. Tamboli and others' degree of follow-through on their commitments
1O    after receiving the paid travel benefit. (attached hereto as Exhibit 12)
11          66.    Other physicians who were targeted for paid travel on the February 8,
12    2005 "Q3-Q4 AMP Business Plan" included: Dr. Chengalory Ragunathan, who
13    would be flown to an event in New York, and was expected to deliver two 3rd
14    quarter referrals and four 4th quarter referrals as part of his Anticipated ROI; Dr.
15    Jeny Flor, who would be flown to an event in New York, and was expected to
16    deliver two 3rd quarter and five 4th quarter referrals for Medtronic implants as part
17    of his anticipated ROI. (attached hereto as Exhibit 12)
18          67.    A March, 2006 Medtronic spreadsheet listed the top heart medication
19    prescribers in the Los Angeles area and other areas nationwide, and targeted them
20    for marketing activities from sales representatives (See FINAL HP LIST (old and
21    new data) for TSDs Jan 29 - Los Angeles March 2006 purchases", attached hereto
22    as Exhibit 19). A similar October, 2005 spreadsheet targeted doctors based on their
23    heart medication prescription volume (See FINAL HP LIST (old and new data) for
24    TSDs Jan 29 - Los Angeles Oct 2005 purchases", attached hereto as Exhibit 20). A
25    master spreadsheet from January 29, 2007 targeted the high volume heart
26   medication prescribers nationwide, and instructed specific sales representatives to
27   market to them. (See FINAL HP LIST (old and new data) for TSDs Jan 29",
28    attached hereto as Exhibit 21)
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 1          68.    For example, in the Medtronic 2006 TSS Plan business plan, targeted
 2    hospitals and clinics were referred to as "Mega" and "Mini-Mega" to signify their
 3    large volume of implants. On the same spreadsheet, Medtronic kept track of the
 4    volume and market share for each type of implantable device at each facility, and
 5    tracked the percentage of Medtronic devices being used by implant physicians, who
 6    were often recipients of Medtronic paid travel, dinners, lunches, "preceptorships",
 7    and/or "case studies". (attached hereto as Exhibit 11)
 8          69.    For example, Medtronic tracked Southern California hospital and
 9    clinic implants by physician in a 2007 ROI spreadsheet called "Trending Implants -
1O    By Implant Physician - TSR". Each physician was tracked for the physician's
11    volume of each type of implant by quarter through 2007, and each physician's
12    implants for 2008 and 2009 were forecasted, based on historical trends as well as on
13    the number of fly-to paid events and expensive dinners Medtronic sales staff had
14    targeted them to attend in the future months. (attached hereto as Exhibit 22)
15          70.    As part of the Medtronic 2006 TSS Plan business plan, Dr. Simon
16    Kangavari was targeted for a "state of the art program in Feb .... dinner, along with
17    a rep", and "another power lunch with key APEX docs and VIP [company
18    executive or Medtronic 'champion' doctor]". The "Desired Results" of these
19    expensive, paid meals would be to "Increase/maintain share with Kang[avari]", and
20    to "Increase adoption" of Medtronic products. (attached hereto as Exhibit 11)
21          71.    Medtronic sales representatives provided gift cards, meals and other
22    favors for physician members of purchasing committees and their staffs, including
23    purchasing committeeswhich effected large Medicaid and Medicare patient
24    populations, such as hospitals with large Medicaid and Medicare populations.
25    Medtronic management directed sales staff to invite purchasing committee
26    members to lavish dinners, resort weekends and basketball games and other
27    entertainment. Medtronic management directed sales staff to request purchasing
28    committee members participate in "preceptorships" or shadowing, but the purpose
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 1    of the preceptorship was merely to confer a cash benefit to the physician in order to
 2    sway her implanting habits and purchasing decisions. Medtronic management
 3    arranged payment of large grants to influential purchasing committee members in
 4    order to purchase Medtronic devices into inventory.
 5          72.     Medtronic also instructed physicians' office staff and clinic personnel
 6    to maximize Medicaid and Medicare billing. Medtronic field representatives gave
 7    billing seminars, in which the Medtronic representatives suggested additional
 8    billing codes that could be submitted in conjunction with certain procedures. The
 9    field representatives also reviewed prior billings for some facilities, and suggested
1O    additional billings that Medicaid or Medicare were known to pay for without
11    question.
12          73.     For example, a January, 2006 Medtronic guide to help doctors build
13    "an Effective Heart Failure Clinic" provided 43 pages of instructions on which
14    ICD-9 codes to use when billing for a CRT or ICD implant. The guide also gave
15    suggestions on additional codes to use in order to maximize billings when
16    implanting devices. ( "Medtronic 2006 Physician Coding", attached hereto as
17    Exhibit 23)
18          74.     In the February, 2005 Medtronic "Q3-Q4 AMP Business Plan", the
19    Medtronic sales staff planned to show Dr. Promad Multani how to "Break the
20    bank". The Medtronic representatives planned to meet with him to "Emphasize
21    realistic patient and econ[omic] numbers" he could realize from referrals for
22    Medtronic implants, and to "Show DRG payments for Downey and St. Francis" -
23    show him how other facilities were maximizing their billings. As a result, Dr.
24    Multani was expected to deliver an ROI of two Medtronic implant referrals in the
25    3rd quarter, and 3 Medtronic implant referrals in the 4th quarter. (attached hereto as
26    Exhibit 12)
27          75.     Part of a Medtronic July 20, 2004 business plan was to select doctors
28    who refer potential implant patients to the top volume implanters and educate them
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 1    on the "Economics of devices", and "Reimbursements for devices" in order to show
 2    them how to maximize reimbursements and grow their clinic income (attached
 3    hereto as Exhibit 6)
 4          76.    Medtronic sales reps were given a copy of a 2006 Cambridge Heart
 5    "Heartwave II" System ROI sheet, showing what profits physicians could make off
 6    of this 3rd party testing device when sold in combination with Medtronic devices.
 7    The profit analysis indicated how much profit doctors could make per "MTWA"
 8    test ($289), and how much profit per year (over $120,000). The Medtronic sale reps
 9    were instructed to promote this device to physicians in order to show doctors how
10    to maximize Medicare billings with Medtronic devices and 3rd paiiy accessory
11    devices (attached hereto as Exhibit 24)
12          77.    Medtronic also instructed its sales representatives to violation patients'
13    privacy by reviewing patient charts at doctors' offices to select patients for
14    receiving implantable devices. Sales representatives were given pre-printed post-it
15    flags to put on patient charts that the Medtronic representatives felt should be given
16    an implant. Medtronic trained its sales representatives to flag all chaiis with an
17    Ejection Fraction ("EF") score of 40% to 45%, even though the CRDM devices
18    were not indicated for patients with an EF score in excess of 35%. Medtronic
19    trained its sales representatives to present these charts to doctors and ask them
20    directly to implant or refer for testing. Medtronic also directly marketed to patients
21    and their referral physicians in order to increase the number of devices implanted.
22          78.    Adolfo Schroeder was told at a July, 2006 Medtronic two-day sales
23    conference in Thousand Oaks, California attended by attended by personnel from
24    throughout the Southern California region, "you may not agree this pt. (80+) is
25    candidate for ICD but what about CRT to improve their QOL [quality of life], see
26    grandkids, play golf etc."; "CRT therapy - Don't let doctor make decision for pts."
27    (handwritten note from the conference, attached hereto as Exhibit 25)
28

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 1          79.    A September 18, 2006 Medtronic sales representative training manual
 2    stated that part of the job of the sales rep was to "Influence referring physicians and
 3    clinical personnel to appropriately identify patients who could benefit from device-
 4    based therapies". Sales reps were further instructed to constantly evaluate the
 5    patient identification processes at each clinic and hospital "to achieve device
 6    adoption that achieves sales goals and objectives". (attached hereto as Exhibit 26)
 7          80.    A December 1, 2006 PowerPoint presentation by Dr. Kevin Inwood
 8    was given to Adolfo Schroeder by Medtronic sales personnel to use with doctors.
 9    The presentation promoted the off-label indication for Medtronic ICD devices for
1O    patients with EF scores up to 40%, and also threatened doctors that they might face
11    malpractice liability if they failed to identify patients falling within these
12    parameters and evaluate them for an implant. (See "The Bottom Line", attached
13    hereto as Exhibit 27)
14          81.    A February 20, 2007 Medtronic template letter to referral physicians
15    stresses that their patient "has been identified as being potentially at high risk for
16    sudden cardiac death, and may benefit from placement of an implantable
17    cardioverter defibrillator and/or cardiac resynchronization therapy". The letter was
18    part of a "turn-key" heart failure clinic business solution that Medtronic promoted
19    to cardiologists and hospitals. Sales representatives were trained to show
20    cardiologists how the physicians could use Medtronic pre-printed medical forms
21    and templates to run a heart failure clinic, and to show them how much profit the
22    physicians could make off Medicaid, Medicare and other payers if the physicians
23    implanted Medtronic CRDM devices. Medtronic sales representatives were also
24    coached at training meetings to pressure doctors into believing that the physicians
25    would face the liability of malpractice suits if the physicians did not implant
26    Medtronic CRDM devices in a broad patient population. (See "SCA Screening
27    Letter", attached hereto as Exhibit 28)
28

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 1          82.    A March 19, 2007 Medtronic "Target Update" document indicated that
 2    Doctors Gary Conrad and R. Fernando Roth in Pasadena had received "lunch in-
 3    services" for their staff paid by Medtronic. In return, the physicans were letting
 4    Medtronic sales representatives work "with Roth and Hospital to educate echo staff
 5    to flag potential candidates for device therapy", and work with the "echo tech in
 6    office (Kimberly) to also better identify potential patients". (attached hereto as
 7    Exhibit 4)
 8
      B.    Medtronic Illegally Engaged in the Promotion of Cardiac Devices for
 9          Off-Label Use.
10          83.    New pharmaceutical drugs or medical devices may not be marketed in
11    the United States until the sponsor of the drug or device has proven to the Food and
12    Drug Administration (FDA) that the drug or device is safe and effective for specific
13    indications at specified dosages (if applicable). The indications and dosages (if
14    applicable) approved by the FDA are set forth in the product's labeling, the content
15    of which is also approved by the FDA. Although it is not unlawful for physicians to
16    use devices for indications or at dosages different than those set forth in a product's
17    labeling, The Food Drug and Cosmetic Act prohibits medical device companies
18    from marketing or promoting approved devices for uses other than those set forth in
19    the device's approved labeling. This regulatory scheme protects patients and
20    consumers by insuring that medical companies do not promote drugs or devices for
21    uses other than those found to be safe and effective by an independent, scientific
22    governmental body.
23          84.    The Medicaid and Medicare programs also rely on the FDA's findings
24    regarding what uses for approved drugs and devices are safe and effective. The
25    Omnibus Budget Reconciliation Act of 1990 limited Medicare reimbursement for
26    drugs or devices to "covered outpatient drugs" 42 U.S.C.§ 1396r-8(k)(2)(A).
27    Covered outpatient drugs and devices only include drugs and devices used for
28    "medically accepted indications." A medically accepted indication is a use which
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 1    has been approved by the FDA or one which is supported by specific compendia set
 2    forth in the Medicare statutes. Until August, 1997 none of the compendia
 3    referenced in the statutes supported off-label usage of any approved drugs or
 4    devices. Even after August 1997, off-label usage was significantly restricted.
 5          85.    Off-label use of a medical product refers to the prescription or use of a
 6    product in a manner not approved by the FDA. Since Congress passed the Food and
 7    Drug Administration Modernization Act ("FDAMA") in November 1997,
 8    manufacturers may provide off-label studies to the medical community only if
 9    certain conditions are met. Moreover, federal law prohibits manufacturers from
1O    promoting off-label uses through physician studies when the investigating
11    physician is not truly independent or impartial, as well as when the physician is in
12    fact an agent of the manufacturer based upon significant financial relationships.
13    See 21 U.S.C. §§ 360aaa et seq.
14          86.    Whether a device is FDA-approved for a particular use will largely
15    determine whether payment for that device will be reimbursed under the federal and
16    state Medicaid and Medicare programs. Thus, the off-label use of such devices is
17    not eligible for reimbursement under Medicaid. Likewise, many state Medicaid
18    agencies intend not to reimburse for devices for off-label purposes because the
19    agencies do not wish to spend money on devices not recognized as medically
20    necessary in sources specified by federal law. CRDM devices were not eligible for
21    reimbursement from federal or state Medicaid or Medicare programs when
22    prescribed for use in patients with minor heart failure symptoms or no symptoms.
23          87.    Medtronic has known that its ICD devices were only approved for
24    ventricular antitachycardia pacing and ventricular defibrillation for automated
25    treatment of life-threatening ventricular arrhythmias. Medtronic has also known
26    that its CRT-D devices were only approved for ventricular antitachycardia pacing
27    and ventricular defibrillation for automated treatment of life-threatening ventricular
28    arrhythmias and for the reduction of the symptoms of moderate to severe heart
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 1    failure (NYHA Functional Class III or IV) in those patients who remam
 2    symptomatic despite stable, optimal medical therapy and have a left ventricular
 3    ejection fraction ("EF") less than or equal to 35% and a QRS duration of =130 ms.
 4    Nevertheless, Medtronic has pushed far beyond this range of approved use in its
 5    CRDM promotional activities.
 6          88.    Medtronic's conduct caused physicians to submit billings for CRDM
 7    devices that were ineligible for reimbursement under Medicaid and Medicare
 8    because the devices were used for an off-label purpose.          Further, Medtronic's
 9    conduct caused physicians, hospitals, and cardiac clinics to purchase and use
1O    CRDM devices. Such purchases and use were not eligible for reimbursement under
11    Medicaid and Medicare because the devices were for an off-label use. Medtronic
12    thus caused the submission of false claims for payment of money under the federal
13    Medicaid and Medicare programs and state Medicaid programs.
14          89.    Additionally, the military's payments to cover the use of CRDM
15    devices for patients with minor heart failure symptoms or no symptoms were not
16    eligible for coverage under the TRI CARE health care plan for members of the
17    military and their families (formerly known as CHAMPUS), or through direct
18    purchasing by the military. The Department of Defense will generally pay for the
19    costs only of "proven" devices, meaning devices that have been found to be "safe
20    and effective" by the FDA. 32 C.F.R. § 199.4(g)(15)(i)(A). TRICARE will pay for
21    off-label use of a device only if the use is determined to be a "medical necessity"
22    and if the program can determine that the off-label use is "safe and effective and in
23    accordance with nationally accepted standards of practice in the medical
24    community." Id. TRICARE will not pay for a device unless "reliable evidence
25    shows that the medical treatment or procedure has been the subject of well-
26    controlled   studies   of   clinically   meaningful     endpoints."    32   C.F.R.   §
27    199.4(g)(l 5)(i)(C). The studies Medtronic supported to promote the use of CRDM
28    devices off-label did not meet these standards.       Had TRICARE known this, it
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 1    would not have covered or reimbursed the off-label use of CRDM devices.
 2           90.    In limited situations, investigational devices may be used by the
 3    military.    However, whenever a member of the armed forces receives a device
 4    unapproved for its applied use, the member must be given notice and consent to
 5    such use. 10 U.S.C. § 1107. In order to waive consent for the purposes of using
 6    such an "investigational device" in battle, the Secretary of Defense must request a
 7    waiver from the President. No such waiver was requested for CRDM devices.
 8           91.    As described in this Complaint, Medtronic has, since 2002 through the
 9    present, knowingly and intentionally violated the regulatory schemes described
1O    above in its marketing of Medtronic products. Medtronic knew or should have
11    known that thousands of physicians (chiefly through their hospitals under
12    applicable diagnostic related groups [DRG's]) would routinely and necessarily file
13    false claims with the federal goven1ment when the physicians sought federal
14    reimbursement for Medtronic CRDM devices and related Medtronic products. But
15    for Medtronic' s actions most, if not all, of the false claims for the purchase of
16    Medtronic products would never have been filed.           Although in some cases the
17    physicians did not directly contract with the federal government, Medtronic was the
18    indirect beneficiary of all of the false claims described in this Complaint.
19           92.    While all on-label and off-label sales made or effected by the health
20    care providers receiving unlawful kickbacks or engaging in improper self-referral
21    cause false claims to be filed, the unlawful promotion of off-label uses of
22    Medtronic products provides an additional, independent, and, under the
23    circumstances, far more urgent basis for the government to interdict this activity-
24    the public health is at risk.
25    III
26           1.     Medtronic Trained Technical Field Experts and Sales
                    Representatives to Promote Off-Label Use of Medtronic CRDM
27                  Devices.
28

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 1          93.    The Medtronic sales representatives were trained to use knowingly off-
 2    label information to persuade physicians to use Medtronic devices. Medtronic
 3    trained and directed sales staff to tell doctors that Medtronic devices are effective
 4    for a variety of off-label claims; none of which were indications which the FDA
 5    had approved for Medtronic devices.
 6          94.    Medtronic held national sales meetings once a year, where it provided
 7    off-label sales training to both sales representatives and technical field experts in
 8    the uses of Medtronic CRDM devices for patients with mild or no symptoms of
 9    heart failure. The sales representatives and technical field experts were also taught
IO    how to approach physicians about these off-label uses of Medtronic CRDM devices
11    at teleconferences and at local and regional meetings.
12          95.   Medtronic trained its technical field experts to promote its CRDM
13    devices as particularly effective for preventing sudden cardiac arrest in patients
14    with mild or no symptoms of heart failure as a method of "primary prevention" of
15    sudden cardiac arrest, even though such "preventative" use of CRDM devices for
16    patients with mild or no symptoms of heart failure was not approved by the FDA.
17          96.   At a September 18, 2006 sales training meeting, Medtronic trained
18    sales representatives to "open up a conversation with your referral customers" on
19    the off-label uses of Medtronic ICD devices for off-label uses in mildly
20    symptomatic patients for whom the Centers for Medicaid and Medicare Services
21    (CMS) had not agreed to reimburse. The document states "Medtronic Confidential"
22    on every page, and says "Currently, we are working with CMS to create
23    reimbursement for this patient population. In the interim, we want to continue to
24    push ICD refe1Tals for the currently indicated and reimbursed patients, including
25    MADIT-II". Medtronic trained the sales representatives to begin conversations with
26    doctors about the off-label uses of ICD's for mildly symptomatic patients - "This
27    conversation guide provides a potential road map to having conversations with both
28   your referral and implanting physicians on the SCD-HeFT results, primary
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 1    prevention evidence, and identifying and handling the barriers to referrals and
 2    implantation" (See "Medtronic SCD-HeFT Conversation Guide and Handling
 3    Primary Prevention Barriers", attached hereto as Exhibit 29)
 4          97.     On August 1, 2006, at its "Project Wildfire" sales training meeting for
 5    its sales representatives and technical field experts, Medtronic instructed its
 6    employees to work to "expand the reach of our market development activities
 7    beyond therapy sales".      Medtronic's promotion of CRDM devices for non-
 8    therapeutic sales, however, is illegal.     ("Project Wildfire", attached hereto as
 9    Exhibit 17)
1O          98.     Medtronic set goals for the sales representatives to promote the use of
11    CRDM devices off-label, and to develop "key opinion leaders" or KOLs who
12    would support and promote the use of Medtronic CRDM devices off-label. For
13    example, a March 10, 2004 Medtronic business plan targeted non-cardiac
14    physicians such as OB-GYNs for off-label promotion of CRDM devices. Sales
15    representatives were instructed to "drive implant referrals" from these non-cardiac
16    physicians, and to push for the referral of patients          "regardless of need or
17    symptoms". Sales reps were instructed to push for the referral of patients for
18    "primary prevention" - meaning patients who had not yet had a sudden cardiac
19    arrest event, even thought Medtronic was aware of studies that showed more than
20    75% of the devices would never deliver a therapeutic shock.            (Marketing Plan,
21    attached hereto as Exhibit 13)
22          99.     One undated CME presentation funded by Medtronic promoted the use
23    of implants for patients with a higher than indicated EF level (less than or equal to
24    40%), and for asymptomatic patients.        (J. Paul Mounsey, "Management of the

25    Patient at Risk for Cardiac Arrest", attached hereto as Exhibit 30).
26          100. These educational programs are some of the many that Medtronic paid
27    for to promote CRDM device implants off-label to doctors in hospitals and clinics
28    nationwide. In fact, Adolfo Schroeder's records show dozens of paid travel and
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 1    educational events for cardiac and other physicians at these facilities, all intended to
 2    establish a relationship in which Medtronic sales representatives could promote
 3    CRDM devices for off-label uses.        For example, a July 20, 2004 Los Angeles
 4    Medtronic business plan targeted 30 local physicians to attend one national event
 5    and one regional event each, with airfares, hotels and meals to be paid by
 6    Medtronic. Such lists were generated by the sales district during their district
 7    business planning processes. ("July 20, 2004 TSS Plan", attached hereto as Exhibit
 8    6)
 9           101. As part of their scheme to promote CRDM devices for off-label use,
1O    Medtronic trained its sales representatives and technical field experts to prompt
11    physicians to ask questions about Medtronic CRDM devices.                For example,
12    although Medtronic told its sales representatives that they could not talk about off-
13    label uses of CRDM devices unless a physician asked a specific question about the
14    product, sales representatives were trained to describe particular patient profiles that
15    would fit an off-label use, and use probing questions to elicit a discussion with the
16    physician about that off-label use. Sales representatives could talk about the clinical
17    research in which Medtronic was engaged, including Medtronic clinical research
18    trials on the use of CRDM devices in patients with mild heart failure symptoms or
19    no symptoms.
20          102. When a physician then asked a question about off-label uses of
21    Medtronic CRDM devices, the technical field expert was allowed to respond, and
22    was trained to provide the physician with further information on the off-label uses
23    of the devices. In other words, after a sales representative prompted a question
24    about CRDM devices from a physician, he would then direct Medtronic's technical
25    field experts to send the physician a Medtronic document (via fax, e-mail or postal
26    service), or share a presentation on the off-label use of the CRDM devices in mildly
27    symptomatic or asymptomatic patients.
28

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 1          103. Although Federal regulations did not permit Medtronic to promote
 2    unapproved uses of their devices, Medtronic was permitted to distribute
 3    publications created by "third parties" that described results of off-label uses of
 4    Medtronic devices, if such material was distributed in response to non-solicited
 5    requests from physicians. Medtronic decided to exploit this nmTow exception by
 6    creating events and programs that would allow special Medtronic employees and
 7    independent contractors under Medtronic's control to promote off-label usage under
 8    circumstances that would allow Medtronic to deny, wrongfully, that it had solicited
 9    off-label usage.
10          104. For example, Medtronic sales representatives were given a February,
11    2007 presentation to hand to physicians that included instructions at the top to
12    screen patients with an f:jection Fraction score (EF score) of less than or equal to
13    40% for possible sudden cardiac arrest and need for possible implantation with a
14    CRT or ICD device, when FDA indications only allowed symptomatic patients with
15    an EF less than or equal to 35%, along with other factors, to be implanted.
16    ("Identifying Patients at High Risk for Sudden Cardiac Arrest in Your Practice",
17    attached hereto as Exhibit 31}
18          105. Medtronic sales reps were also instructed to show a February 23, 2007
19    document called "Sudden Cardiac Arrest (SCA) Provider Fact Sheet". The
20    document stated that "Patients with mild heart failure should not be considered at
21    lower risk for SCA", and was an effort to increase the number of off-label implants
22    for asymptomatic patients. (attached hereto as Exhibit 32)
23          106. For example, a Medtronic "Therapy Sales Representative (TSR) Phase
24    I Training" manual from September 25-29, 2006 stated that the company could
25    benefit from "growing indications" for ICD therapy by promoting single chamber
26    ICD devices to patients with an expanded range of symptoms. (attached hereto as
27    Exhibit 33)
28          2.    Medtronic Sponsored Seminars, Symposia, and Other Continuing

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 1
                   Medical Education Programs that Promoted the Use of CRDM
 2                 devices in Mildly Symptomatic or Asymptomatic Patients.
 3
             107. Medtronic also sponsored seminars and events for physicians and their
 4
      patients, all with the purpose of promoting CRDM devices for use in patients with
 5
      mild or no heart failure symptoms. Medtronic particularly targeted cardiologists
 6
      with these events in order to encourage them to refer more patients and to expand
 7
      the use of Medtronic CRDM devices to treat asymptomatic and mildly symptomatic
 8
      heart failure patients off-label.
 9
             108. Specifically, as part of its scheme to promote CRDM devices widely
10
      for use to treat asymptomatic and mildly symptomatic patients, Medtronic sought
11
      out influential cardiologists and electrophysiologists and proffered kickbacks to
12
      them in return for conducting research and implementing policies promoting the use
13
      of CRDM devices in those off-label cases.           As set fmth below, most of this
14
      "research" consisted of paying a physician to implant a specific Medtronic device
15
      and report some simple findings. The Medtronic marketing department made the
16
      decisions on which doctors to pay to do case studies and be involved in research
17
      protocols based on their CRDM device implant volume, showing that 1'.Aedtronic
18
      was not paying those doctors for a legitimate research purpose.           In effect,
19
      Medtronic paid these influential physicians to implant their patients with Medtronic
20
      devices in order to expand their market share. Medtronic also paid these "Key
21
      Opinion Leaders" and "Champions" to promote the use of CRDM devices at
22
      seminars and other events for refe1Ting cardiologists, clinic staff, and implanting
23
      devices in patients.
24
             109. The Medtronic "Champions" included Dr. John McKenzie from
25
      Glendale, California, who pmticipated in at least two paid Medtronic studies and
26
      was listed as a "player" on a November 16, 2005 business plan ( "11-16-05 In a
27
      Nutshell Plan", attached hereto as Exhibit 14); Dr. Mayer Rashtian from
28

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      Huntington Memorial Hospital in Pasadena; Dr. Vivian Tan from Glendale,
 2    California; Dr. Leslie Saxon from the University of Southern California, who was
 3    paid consultant fees and research fees from Medtronic according to a January 16,
 4    2007 study she co-wrote ( "Effects of Cardiac Resynchronization Therapy With or
 5    Without a Defibrillator on Survival and Hospitalizations in Patients With New
 6    York Heart Association Class IV Heart Failure", attached hereto as Exhibit 34); Dr.
 7    Charles Swerdlow from UCLA; Dr. Nigel Gupta and Dr. Michael Wong with the
 8    Kaiser Permanente Medical Group, Los Angeles.
 9           110. Another means by which Medtronic paid kickbacks to physicians for
1O    the promotion of off-label use of Medtronic devices was through programs billed as
11    Continuing Medical Education seminars (CME). These conferences and seminars
12    were set up to appear to qualify for an exception to the FDA's off-label marketing
13    restrictions which permit physicians to learn about off-label uses of devices at
14    independent seminars. Such seminars, however, must be truly independent of the
15    device companies. The device companies may make "unrestricted grants" for the
16    purpose of a seminar, but may not be involved in formulating the content of the
17    presentations, picking the speakers or selecting the attendees.
18           111. None of these requirements were observed with regard to the CME
19    seminars sponsored by Medtronic for the promotion of Medtronic devices. While
20    Medtronic retained third-party organizations such as ASI Marketing and Maritz
21    McGettigan travel company to present the event seminars and pass on payments to
22    doctors, Medtronic retained control of virtually every aspect of these events, and
23    the seminar companies obtained Medtronic' s approval for all content presented at
24    the seminars. Medtronic also paid all expenses, including all of the seminar
25    company's fees.
26          112. More importantly, Medtronic paid for these so-called continuing
27    medical education programs and designed them to instruct physicians on how to
28    justify off-label use of Medtronic devices.
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 1          113. One undated CME presentation funded by Medtronic promoted the use
 2    of implants for patients with a higher than indicated EF level (less than or equal to
 3    40% ), and for asymptomatic patients. The physicians were told that patients with an
 4    EF less than or equal to 40% who were asymptomatic were given an implant in a
 5    recent study. In actuality, CRDM implants are not indicated for asymptomatic
 6    patients or for patients with an EF score greater than 35%, among other
 7    requirements. ("Ventricular Arrhythmias: Management of the Patient at Risk for
 8    Cardiac Arrest", attached hereto as Exhibit 30)
 9          114. On March 30, 2007, Medtronic paid for a Continuing Medical
IO    Education seminar to be broadcast that instructed physicians on how to justify using
11    an ICD off-label for patients above the 35% EF level. (William T. Abraham, MD,
12    "New Guidelines for Primary Prevention of Sudden Cardiac Death in HF: What the
13    Future Holds and the Role of Primary Care Physicians", attached hereto as Exhibit
14    35)
15          115. Medtronic hired third party contractors to put on dinner events, to
16    which high     volume     implanting physicians     were selected by      Medtronic
17    representatives, managers, and executives to attend, where the implanting
18   physicians received honorariums. Some of these physicians were picked based on
19   their volume of Medicaid and Medicare business. All aspects of these events were
20   controlled by Medtronic, including the preparation of slides for the "independent"
21   speakers. All costs were paid by Medtronic, and payments funneled through the
22   third party contractors.
23          116. Dinner events were held at lavish restaurants, and often had almost no
24   educational component at all. On many occasions the speaker would be a doctor
25   who received $1,000 or more to attend the meal, and who received the speaker fee
26   as a benefit for using a high volume of Medtronic devices. The speakers were given
27   slides by Medtronic to use at the dinners, and did not have to prepare their own.
28   Speakers would sometimes set up a laptop on a table with a PowerPoint
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      presentation running, but not give the presentation and just have dinner with other
 2    doctors. Medtronic did not always require doctors to sign in for dinner on sign-in
 3    sheets.
 4              117. Medtronic also founded a speaker's bureau, another method to make
 5    large and numerous payments to physicians who recommended Medtronic devices
 6    at teleconferences, dinner meetings, consultant meetings, educational seminars and
 7    other events. These speakers repeatedly gave short presentations relating to
 8    Medtronic devices for which they were paid anywhere from several hundred to
 9    several thousand dollars per event, commonly $1,500 or more. The presentations
1O    were effectively "canned" content provided by Medtronic. Medtronic targeted
11    opinion leader physicians, most of whom were high volume implanters and were
12    influential. The payments that these doctors received were far in excess of the fair
13    value of the work that they performed for Medtronic. Speakers who most zealously
14    advocated Medtronic devices were hired most frequently for speaking events,
15    notwithstanding the fact that many of these events purported to be independent
16    medical education seminars where independent information was supposed to be
17    delivered.
18          118. Medtronic also sponsored continuing medical education programs that
19    promoted the use of CRDM devices off-label for mildly symptomatic or
20    asymptomatic patients.
21          119. FDA marketing restrictions permit physicians to learn about off-label
22    uses of devices at independent seminars.              Device companies may make
23    "unrestricted grants" for the purpose of supporting a seminar, but may not be
24    involved in formulating the content of the presentations, picking the speakers or
25    selecting the attendees. Medtronic did not observe any of these requirements with
26    regard to the seminars and symposia it sponsored for the promotion of "off-label"
27    uses of CRDM devices.
28

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             120. For example, Medtronic provided speaker slides made by Medtronic to
 2    physicians making off-label presentations on CRDM devices. Dr. Michael Field
 3    used Medtronic prepared slides in his October 5, 2006 "Know Your EF Talk"
 4    presentation at the Longwood Medical Area ICD Support Group, which was
 5    supported by Medtronic. In the presentation, Dr. Feldman stated that patients with
 6    an EF score as high as 40% or 50% should be evaluated for a CRDM device
 7    implant. (See Dr. Michael Field, "Know Your EF", attached hereto as Exhibit 36)
 8           121. Part of the Medtronic scheme included paying for "Know Your EF"
 9    presentation days for patients. These health fairs were run at hospitals and clinics
1O    for high volume implanters and referral physicians who were willing to use
11    Medtronic implants. The purpose of these events was to promote more implants
12    directly to consumers, promote implants off-label, and help clinics and hospitals
13    sign more people up for Medtronic heart implants.            There was no legitimate
14    medical need for patients to "know their EF score", as it could be variable
15    throughout the day and the week, and by itself was not an indicator of a need for a
16    CRDM implant or any other treatment.       Medtronic, however, promoted the "Know
I7    Your EF" events in order to promote implants to new potential patients and to sell
18    additional CRDM devices. Medtronic commonly paid hundreds or thousands of
19    dollars to send invitations directly to patients, select which patients to invite, pay
20    for food and EF mobile testing vans to conduct the event, and paid for other
21    promotional activities.   These "Know Your EF" days represented provision of
22    services by Medtronic to eliminate expenses that the physicians and facilities would
23    have otherwise incurred, and had independent value to the physicians and facilities.
24    Medtronic pushed clinics and doctors to run "Know Your EF" programs, because
25    the Medtronic off-label scheme included promoting the idea to patients that the EF
26    score alone would indicate the need for a CRDM device implant. The arrangement
27    was illegal because it was tied directly to the generation of state and federal health
28    care program business for Medtronic.
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 1          122. A September 18, 2006 Medtronic tactical sales plan stressed the goals
 2    to "Foster Brand Loyalty" and to create "Primary Prevention Market Expansion".
 3    The primary prevention market consisted largely of patients whose heart failure
 4    symptom severity did not meet the required level of indications, and who had not
 5    suffered a previous sudden cardiac anest. Despite the fact that more than 75% of
 6    patients implanted with ICD devices never receive a therapeutic shock, Medtronic
 7    marketed heavily for this population in order to expand revenue from state and
 8    federal health care systems. Medtronic was going after the "primary prevention"
 9    market in order to increase the number of devices implanted beyond those patients
1O    who had already had a sudden cardiac event, to those who may have one in the
11    future. The "tactics" sales reps were to use included the "identification of patients
12    eligible for ICDs", and the "Know your EF program", for which Medtronic sales
13    reps were supposed to get the facility to mark the EF score for each patient
14    (attached hereto as Exhibit 26).
15          123. Medtronic instructed sales representatives to personally review patient
16    charts in friendly doctor's offices, and to flag patient charts for those that the sales
17    representative felt should receive an implant. The sales representatives were then
18    expected to follow-up, and get the doctor's offices to pull those patients in for
19    evaluation, in order to increase the number of CRDM device sales on a monthly or
20    quarterly basis in their territory, resulting in increased claims for reimbursement
21    under state and federal health care systems.
22          124. Medtronic trained its sales representatives to ask doctors to re-evaluate
23    the Ejection Fraction score of a patient (EF Score), a cardiac blood flow measure
24    that is used as one several indicators for a CRDM device implant. Medtronic
25    trained its sales representatives at national and regional sales meetings to ask
26    doctors to reduce the EF score in order to meet criteria for implanting a CRDM
27    device in a patient, and to tell the doctor to base it on the known 5% to 10%
28    variability in EF score measurement. Medtronic also coached sales representatives
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 1    to tell doctors that they would likely be liable for malpractice if a patient was not
 2    referred for an implant and subsequently had a sudden cardiac arrest. In this way,
 3    Medtronic attempted to pressure doctors to implant their CRDM devices in patients
 4    in order to boost sales and revenue.
 5          125. For example, Medtronic sponsored an undated "Know your EF score"
 6    patient event at Desert Cardiology Center which promoted the testing of patients for
 7    EF scores above 35%, which is off-label for ICD implants. Events like these led to
 8    unnecessary diagnosis, treatment, and/or implantation, resulting increased claims
 9    for care in state and federal health care systems. (See "Indications for patients
1O    Eligible for an ICD", attached hereto as Exhibit 37)
11          126. A common means by which Medtronic funneled illegal payments to
12    physicians to encourage them to implant off-label was through "consultant"
13    meetings or by inviting them to join paid marketing "Advisory Boards". Under this
14    guise, Medtronic recruited physicians to dinners or conferences and paid them to
15    hear presentations about off-label uses of Medtronic devices. Under the guise that
16    these doctors were acting as "consultants", Medtronic sometimes had the doctors
17    sign sham "consulting agreements". At these meetings, Medtronic would give these
18    doctors presentations related to Medtronic devices, sometimes regarding off-label
19    usage. Presentations would be made by Medtronic employees or physician speakers
20    hired by Medtronic for the purpose of promoting Medtronic devices.
21          127. In order to conceal its involvement in these seminars and symposia,
22    Medtronic also often retained third-party organizations such as ASI Marketing to
23    arrange the events, and the Maritz McGettigan travel company to arrange paid
24    travel and hotels for doctors. Maritz McGettigan often passed on payments for
25    travel and reimbursed expenses from Medtronic.          If the payments had had a
26    legitimate educational purpose, Medtronic would have paid the doctors directly,
27    rather than sending them through Maritz McGettigan.
28

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 1
            3.     Medtronic Provided Financing and Other Support for
 2                 Questionable Research to Support and Promote the Use of CRDM
                   Devices in Patients with Minor Heart Failure Symptoms or No
 3
                   Symptoms.
 4

 5           128. Medtronic engaged in a researching and publishing campaign under

 6    which it paid physicians to engage in off-label studies of CRDM devices in mildly

 7    symptomatic or asymptomatic patients. These studies were heavily influenced by

 8    bias, since the physicians were paid by Medtronic; the research was often

 9    coordinated by Medtronic; and in many cases, Medtronic employees were included

10    as researchers on the projects.    In sum, Medtronic deliberately pursued a scheme

11    under which it paid for biased research and studies to support the use of CRDM

12    devices off-label in mildly symptomatic or asymptomatic patients.

13          129. On July 20, 2004, as pmi of a Medtronic TSS business plan, the sales

14    reps were instructed to find doctors who would be willing to take money to run a

15    case study with Medtronic devices on their patients. Doctors were asked to accept

16    thousands of dollars in payments to enroll their patients in Medtronic-paid research

17    studies, including "ASSESS", and "RESTORE", and others. I\lfedtronic made clear

18    its intention to promote these research studies as a financial benefit to induce

19    additional implant volumes by instructing the sales reps to target and develop

20    doctors for inclusion in the studies. The plan was intended to "Drive device

21    adoption", "build strong referral relationships", and "foster brand loyalty" (attached
22    hereto as Exhibit 6)
23          130. Medtronic also ran a number of nationwide studies which engaged a

24    large number of investigators, each of whom enrolled a few patients each, and for

25    which doctors were remunerated up to several thousand dollars per enrolled patient

26    in order to create brand loyalty with the physicians, often for off-label uses.

27          131. For example, in the February, 2005 Medtronic "Q3-Q4 AMP Business

28    Plan", the Medtronic sales staff planned to pay for Dr. Jerry Flor to attend a fly-to

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 1    program in New York, and gain his "commitment to refer SCD-HeFT [Medtronic
 2    funded implant study] patient in January". Medtronic routinely paid physicians
 3    between $1,000 to $3,000 to refer each patient for "research", and some doctors
 4    refused to use Medtronic implantable devices unless the doctors were paid for
 5    implanting them as part of "research" (attached hereto as Exhibit 12)
 6          132. Medtronic's research and publication campaign had a clear purpose:
 7    to support and promote the off-label use of CRDM devices for mildly symptomatic
 8    or asymptomatic patients.
 9          133. Indeed, independent studies based on randomized, controlled clinical
10    trials reveal that in this context, CRDM device therapy in patients with minor heart
11    failure symptoms or no symptoms has not shown the level of effectiveness claimed
12    in Medtronic promotions. In fact, according to the scientific literature, over 75% of
13    Medtronic ICD devices may never deliver a therapeutic shock, while over 17%
14    deliver inappropriate shocks, greatly increasing the risk of death (See Dr. Gust H.
15    Bardy, et al, "Amiodarone or an Implantable Cardioverter-Defibrillator for
16    Congestive Heart Failure," The New England Journal of Medicine, Jan. 20, 2005,
17    attached hereto as Exhibit 1).
18
      c.    Medtronic Promoted CRDM devices for Use in Patients with Minor
19          Symptoms of Heart Failure or No Symptoms of Heart Failure Even in
20          the Face of Mounting Evidence of Harm.

21
            134. Medtronic continued to promote CRDM devices for use in patients

22    with minor heart failure symptoms or no symptoms, even in the face of evidence

23
      that such use led to an increased risk of inappropriate shock and eventual death. In

24    fact, upon information and belief, Medtronic continues to promote CRDM devices

25    for off-label use in patients with minor heart failure symptoms or no symptoms in

26    the same manner as set forth in this Complaint today.

27          135. A 2008 study published in The New England Journal of Medicine

28    noted that 17.4% of persons with a Medtronic implantable cardioverter defibrillator

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 1    (ICD) received an inappropriate shock, and that for all shocked patients, there was a
 2    significant increase in the rate of death due to progressive heart failure compared to
 3    patients who received no shock (See Dr. Jeanne E. Poole, et al, "Prognostic
 4    Importance of Defibrillator Shocks in Patients with Heart Failure," The New
 5    England Journal of Medicine, Sep. 4, 2008, attached hereto as Exhibit 2).
 6           136. For example, a July 22, 2008 continuing medical education
 7    presentation by Dr. Eric Prystowsky indicated that implantable CRT and ICD
 8    devices were known to cause inappropriate shocks to the heaii in 25% to 30% of
 9    patients (See "Utilization of ICD Therapy", attached hereto as Exhibit 38).
1O           13 7. Given these risks, it is difficult to see how the benefits of using CRDM
11    devices for patients with only minor symptoms of heart failure or no symptoms
12    outweigh the risks.
13

14                                          COUNT ONE
15          FEDERAL FALSE CLAIMS ACT VIOLATIONS BASED ON THE
16                     PAYMENT OF KICKBACKS (31U.S.C.§3729)
17           13 8. Relator re-alleges and incorporates the allegations in paragraphs 1-13 7
18    as if fully set forth herein.
19           139. Medtronic's payment of kickbacks to physicians and other health care
20    providers violated the Medicaid Anti-Kickback statute and other statutes and
21    regulations controlling the payment of governmental employees and military
22    personnel and caused false claims to be submitted to the federal government.
23    Because the Medicaid Anti-Kickback statue is a critical provision of Medicaid,
24    compliance with it is material to the government's treatment of claims for
25    reimbursement. Had the United States and the several states known that CRDM
26    devices had been implanted because physicians had been paid kickbacks by
27    Medtronic to do so, neither the United States nor the States would have provided
28    reimbursement for these device implants. As the United States and the States were
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 1    unaware of the illegality of the claims, and in reliance on the accuracy and legality
 2    thereof, made payment upon the false or fraudulent claims, the United States and
 3    the States were damaged.
 4           140. The kickbacks described herein are strictly illegal and have had the
 5    direct effect of greatly increasing the amount of CRDM devices procured and used
 6    by the government and under the auspices of government programs. The kickbacks
 7    have had the indirect effect of increasing the amount of money spent by the federal
 8    government and the states for reimbursement of devices covered by Medicaid,
 9    Medicare, and TRICARE. The payment of these kickbacks represents the
1O    inducement of federal payments through a patten1 of fraudulent conduct and
11    constitutes false claims within the meaning of 31 U.S. C. § 3729.
12                                         COUNT TWO
13          MEDTRONIC'S PAYMENT OF KICKBACKS AS CONSPIRACY TO
14                    SUBMIT FALSE CLAIMS (31 U.S.C. § 3729(A)(3))
15           141. Relator re-alleges and incorporates the allegations in paragraphs 1-140
16    as if fully set forth herein.
17           142. Medtronic combined, conspired, and agreed together with physicians
18    and others to defraud the United States by knowingly causing false and illegal
19    claims to be submitted to the United States for the purpose of having those claims
20    paid and ultimately profiting from those false claims. Medtronic committed other
21    overt acts set forth above in furtherance of that conspiracy, all in violation of 31
22    U.S.C. § 3729(a)(3), causing damage to the United States.
23    III
24    III
25    III
26    III
27

28

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 1                                       COUNT THREE
 2       FALSE CLAIMS ACT VIOLATIONS FOR CAUSING SUBMISSION OF
 3                            OFF-LABEL BILLS (31 U.S.C. §3729)
 4           143. Relator re-alleges and incorporates the allegations in paragraphs 1-142
 5    as if fully set forth herein.
 6           144. By presenting physicians with false information about off-label uses of
 7    CRDM devices and encouraging physicians to implant CRDM devices for such
 8    uses and procure the devices for such uses which were not approved by the FDA or
 9    any relevant device compendium, Medtronic caused physicians and facilities to
1O    submit numerous bills for CRDM devices that were ineligible for reimbursement
11    under Medicaid, Medicare, and TRICARE because the devices were used for an
12    off-label use. Medtronic also caused the procurement of CRDM devices for off-
13    label uses.    Such procurement should not have been paid for or reimbursed by
14    Medicaid, Medicare, or TRICARE because it was for an off-label use.           Thus,
15    Medtronic knowingly caused such physicians and healthcare facilities expressly or
16    impliedly to make false certifications about the CRDM device's indications and
17    efficacy. Medtronic therefore caused the submission of false claims for payment of
18    money under the federal Medicaid and Medicare programs and TRICARE. Had the
19    United States known that the Medtronic caused procurement of CRDM devices for
20    unapproved uses and also caused CRDM devices to be implanted for unapproved,
21    off-label uses, the United States would not have provided reimbursement for such
22    implants under its Medicaid and Medicare plans and under TRICARE.
23           145. This course of conduct violated the False Claims Act, 31 U.S.C. §§
24    3729 et seq.
25           146. The United States, unaware of the falsity of the claims, and in reliance
26    on the accuracy thereof, made payment upon the false or fraudulent claims and was
27    therefore damaged.
28    III
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 1                                        COUNT FOUR
 2     MEDTRONIC'S SCHEME WITH RESPECT TO OFF-LABEL BILLINGS
 3      AS CONSPIRACY TO SUBMIT FALSE CLAIMS (31 U.S.C. § 3729(a)(3))
 4            147. Relator re-alleges and incorporate the allegations in paragraphs 1-146
 5    as if fully set forth herein.
 6            148. Medtronic combined, conspired, and agreed together with physicians
 7    and others to defraud the United States by knowingly causing false claims to be
 8    submitted to the United States for the purpose of having those claims paid and
 9    ultimately profiting from those false claims. Medtronic committed other overt acts
10    set forth above in furtherance of that conspiracy, all in violation of 31 U.S.C.
11    § 3729(a)(3), causing damage to the United States.
12                                        COUNT FIVE
13       FEDERAL FALSE CLAIMS ACT VIOLATIONS FOR MEDTRONIC'S
14          FRAUDULENT PROMOTION OF CRDM DEVICES (31 U.S.C. §3729)
15            149. Relator re-alleges and incorporate the allegations in paragraphs 1-148
16    as if fully set forth herein.
17            150. Medtronic represented to physicians that CRDM devices were safe and
18    effective for use in patients with minor heart failure symptoms or no symptoms.
19    Such representations were false and fraudulent. However, relying on these false
20    representations, physicians recommended and prescribed CRDM devices for use in
21    patients with minor heart failure symptoms or no symptoms.
22            151. Medtronic representatives also improperly accessed patient medical
23    records and information, at, e.g., "Know Your EF" events and in physicians'
24    offices, inappropriately recommending specific patients as candidates for
25    unnecessary care and implantation, leading to unnecessary diagnosis, treatment,
26    and/or implantation and resulting in increased claims for reimbursement from
27    federal health care systems.
28    III
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 1              152. CRDM devices are extremely costly. As such, Medtronic caused the
 2    government and the states to incur unneeded and unwarranted costs to cover the use
 3    of CRDM devices in patients with minor heart failure symptoms or no symptoms.
 4              153. This course of conduct violated the False Claims Act, 31 U.S.C. §§
 5    3729 et seq.
 6              154. The United States, unaware of the falsity of the claims, and in reliance
 7    on the accuracy thereof, made payment upon the false or fraudulent claims and was
 8    therefore damaged.
 9          PRAYER FOR RELIEF UNDER FEDERAL FALSE CLAIMS ACT
1O          Relator respectfully requests this Comi to enter judgment against Medtronic,
11    as follows:
12              (a)   That the United States be awarded damages in the amount of three
13    times the damages sustained by the United States because of the false claims and
14    fraud alleged within this Complaint, as the Civil False Claims Act, 31 U.S.C. §§
15    3729 et seq. provides;
16              (b)   That civil penalties at the maximum amount allowed by law be
17    imposed for each and every false claim that Medtronic presented to the United
18    States;
19              (c)   That pre- and post-judgment interest be awarded, along with
20    reasonable attorneys' fees, costs, and expenses which the Relator necessarily
21    incurred in bringing and pressing this case;
22          ( d)      That the Court grant permanent injunctive relief to prevent any
23    recurrence of violations of the False Claims Act for which redress is sought in this
24    Complaint;
25          ( e)      That the Relator be awarded the maximum percentage of any recovery
26    allowed to them pursuant the False Claims Act, 31 U.S.C. §3730(d)(l),(2);
27          (f)       That this Court award such other and further relief as it deems proper.
28

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 1                                        COUNT SIX
 2     VIOLATION OF THE ARKANSAS MEDICAID FRAUD FALSE CLAIMS
 3                                             ACT
 4          155. Relator re-alleges and incorporate the allegations in paragraphs 1-154
 5    as if fully set forth herein. Additionally, Relator states that the course of conduct
 6    described in this Complaint was a nationwide practice of Medtronic. Medtronic
 7    conducts business in the State of Arkansas.           Upon inf01mation and belief,
 8    Medtronic's actions described herein occurred in the State of Arkansas as well.
 9          156. This is a qui tam action brought by Relator and the Arkansas to
1O    recover treble damages and civil penalties under the Arkansas Medicaid Fraud
11    False Claims Act, A.C.A. § 20-77-901 et seq.
12          157. The Arkansas Medicaid Fraud False Claims Act § 20-77-902 provides
13    liability for any person who-
14
            Knowingly makes or causes to be made any false statement or
15          representation of a material fact in any application for any benefit or
16          payment under the Arkansas Medicaid program;

17          At any time knowingly makes or causes to be made any false
18          statement or representation of a material fact for use in determining
            rights to a benefit or payment;
19

20          158. In addition, A.C.A. § 20-77-902(7)(A) prohibits soliciting, accepting,
21    or agreeing to accept any type of remuneration for the following:
22
            Recommending the purchase, lease, or order of any good, facility,
23          service, or item for which payment may be made under the Arkansas
24          Medicaid program.
25          159. Medtronic violated the Arkansas Medicaid Fraud False Claims Act §

26    20-77-902(1) (2) & (7)(A) from at least 2002 to the present by engaging in the

27    fraudulent and illegal practices described herein.

28          160. Medtronic furthennore violated Arkansas Medicaid Fraud False

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 1    Claims Act§ 20-77-902(1) & (2) and knowingly caused thousands of false claims
 2    to be made, used and presented to Arkansas from at least 2001 to the present by its
 3    violation of federal and state laws, including A.C.A. § 20-77-902(7)(A), the Anti-
 4    Kickback Act and Stark Act Requirements, as described herein.
 5           161. Arkansas, by and through the Arkansas Medicaid program and other
 6    state health care programs, and unaware of Medtronic's fraudulent and illegal
 7    practices, paid the claims submitted by health care providers and third payers in
 8    connection therewith.
 9           162. Compliance with applicable Medicare, Medicaid and the various other
1O    federal and state laws cited herein was an implied, and upon infonnation and belief,
11    also an express condition of payment of claims submitted to Arkansas is connection
12    with Medtronic's fraudulent and illegal practices.
13           163. Had the Arkansas known that Medtronic was violating the federal and
14    state laws cited herein, it would not have paid the claims submitted by health care
15    providers and third party payers in connection with Medtronic's fraudulent and
16    illegal practices.
17           164. As a result of Medtronic's violations of§ 20-77-902(1) (2) & (7)(A),
18    the State of Arkansas has been damaged in an amount far in excess of millions of
19    dollars exclusive of interest.
20           165. Adolfo Schroeder is a private person with direct and independent
21    knowledge of the allegations of this Complaint, who has brought this action
22    pursuant to A.C.A. § 20-77-9ll(a) on behalf of himself and the State of Arkansas.
23           166. This Court is requested to accept supplemental jurisdiction of this
24    related state claim as it is predicated upon the exact same facts as the federal claim,
25    and merely asserts separate damage to the State of Arkansas in the operation of its
26    Medicaid program.
27           167. WHEREFORE, Relator respectfully requests this Court to award the
28    following damages to the following paiiies and against Medtronic:
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            To the STATE OF ARKANSAS:
 2
            Three times the amount of actual damages which the State of Arkansas
 3          has sustained as a result of Medtronic's fraudulent and illegal
 4          practices;

 5          A civil penalty of not less than $5,000 and not more than $10,000 for
 6          each false claim which Medtronic caused to be presented to the State
            of Arkansas;
 7

 8          Prejudgment interest; and

 9          All costs incurred in bringing this action.
10       ToRELATOR:
11
            The maximum amount allowed pursuant to A.C.A. § 20-77-91 l(a)
12          and/or any other applicable provision of law;
13
            Reimbursement for reasonable expenses which Relator incmTed in
14          connection with this action;
15
            An award of reasonable attorneys' fees and costs; and
16

17          Such further relief as this court deems equitable and just.

18                                       COUNT SEVEN
19      VIOLATION OF THE CALIFORNIA FALSE CLAIMS ACT (Cal. Gov't

20                                   Code § 12650 et seq.)

21          168. Relator re-alleges and incorporate the allegations in paragraphs 1-167

22    as if fully set forth herein. Additionally, Relator states that the course of conduct

23    described in this Complaint was a nationwide practice of Medtronic.

24          169. This is a qui tam action brought by Relator and the State of California

25    to recover treble damages and civil penalties under the California False Claims Act,

26    Cal. Gov't. Code § 12650 et seq.

27    Ill

28    III

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 1           170. Cal. Gov't Code§ 1265l(a) provides liability for any person who-
 2
            Knowingly presents, or causes to be presented, to an officer or
 3          employee of the state of any political division thereof, a false claim for
 4          payment or approval;

 5          Knowingly makes, uses, or causes to be made or used a false record of
 6          statement to get a false claim paid or approved by the state or by any
            political subdivision;
 7

 8          Conspires to defraud the state or any political subdivision by getting a
            false claim allowed or paid by the state of by any political subdivision.
 9

10          Is a beneficiary of an inadvertent submission of a false claim to the
            state or a political subdivision, subsequently discovers the falsity of the
11          claim, and fails to disclose the false claim to the state or the political
12          subdivision within a reasonable time after discovery of the false claim.
13          171. In addition, the payment or receipt of bribes or kickbacks is prohibited

14    under Cal. Bus. & Prof. Code§§ 650 and 650.1, and is also specifically prohibited

15    in treatment of Medi-Cal patients pursuant to Cal. Welf. & Inst. Code§ 14107.2.

16          172. Medtronic violated Cal Bus. & Prof. Code §§ 650 and 650.1 and Cal.

17    W elf. & Inst. Code § 14107 .2 from at least 2002 to the present by engaging in the

18    fraudulent and illegal practices described herein.

19          173. Medtronic fmihermore violated Cal. Gov't Code § 12651(a) and

20    knowingly caused hundreds of thousands of false claims to be made, used and

21    presented to the State of California from at least 2001 to the present by its violation

22    of federal and state laws, including Cal. Bus. & Prof. Code §§ 650 and 650.1 and

23    Cal. Welf. & Inst. Code § 14107.2, the Anti-Kickback Act and Stark Act

24    Requirements, as described herein.

25          174. The State of California, by and through the California Medicaid

26    program and other state health care programs, and unaware of Medtronic's

27    fraudulent and illegal practices, paid the claims submitted by health care providers

28    and third party payers in connection therewith.

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             175. Compliance with applicable Medicare, Medi-Cal and the various other
 2    federal and state laws cited herein was implied, and upon information and belief,
 3    also an express condition of payment of claims submitted to the State of California
 4    in connection with Medtronic's fraudulent and illegal practices.
 5           176. Had the State of California known that Medtronic was violating the
 6    federal and state laws cited herein, it would not have paid the claims submitted by
 7    health care providers and third party payers in connection with Medtronic's
 8    fraudulent and illegal practices.
 9           177. As a result of Medtronic's violations of Cal. Gov't Code § 12651(a),
1O    the State of California has been damaged in an amount far in excess of millions of
11    dollars exclusive of interest.
12           178. Adolfo Schroeder is a private person with direct and independent
13    knowledge of the allegations of this Complaint, who has brought this action
14    pursuant to Cal. Gov't Code § 12652(c) on behalf of himself and the State of
15    California.
16          179. This Court is requested to accept supplemental jurisdiction over this
17    related state claim as it is predicated upon the same exact facts as the federal claim,
18    and merely asserts separate damages to the State of California in the operation of its
19    Medicaid program.
20          180. WHEREFORE, Relator respectfully requests this Court to award the
21    following damages to the following parties and against Medtronic:
22       To the STATE OF CALIFORNIA:
23          Three times the amount of actual damages which the State of California has
24          sustained as a result of Medtronic' s fraudulent and illegal practices;
25          A civil penalty of up to $10,000 for each false claim which Medtronic
26          presented or caused to be presented to the State of California;
27          Prejudgment interest; and
28          All costs incurred in bringing this action.
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            ToRELATOR:
 2            The maximum amount allowed pursuant to Cal. Gov't Code§ 12652 and /or
 3            any other applicable provision of law;
 4            Reimbursement for reasonable expenses which Relator incurred in
 5            connection with this action;
 6            An award of reasonable attorneys' fees and costs; and
 7            Such further relief as this Court deems equitable and just.
 8                                           COUNT NINE
 9      VIOLATION OF THE DELAWARE FALSE AND REPORTING CLAIMS
10                                              ACT
11            181. Relator re-alleges and incorporate the allegations in paragraphs 1-180
12    as if fully set forth herein. Additionally, Relator states that the course of conduct
13    described in this Complaint was a nationwide practice of Medtronic. Medtronic
14    conducts business in the State of Delaware.            Upon information and belief,
15    Medtronic' s actions described herein occurred in Delaware as well.
16            182. This is a qui tam action brought by Relator and the State of Delaware
17    to recover treble damages and civil penalties under the Delaware Medicaid False
18    Claims Act, 6 Del. C. § 1201 et seq.
19            183. 6 Del. C. § 1201 et seq. provides liability for any person who-
20
             Knowingly presents, or causes to be presented, directly or indirectly, to
21           an officer or employee of the Government a false or fraudulent claim
22           for payment or approval;

23           ¥..nowingly makes, uses or causes to be made or used, directly or
24           indirectly, a false record or statement to get a false or fraudulent claim
             paid or approved;
25

26           Conspires to defraud the Government by getting a false or fraudulent
             claim allowed or paid;
27

28    Ill

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 1          Knowingly makes, uses, or causes to be made or used a false record or
 2          statement to conceal, avoid, increase or decrease an obligation to pay
            or transmit money or property to or from the Government.
 3
             184. Further, 31 Del. C. § 1005 provides that-
 4

 5          It shall be unlawful for any person to offer or pay any remuneration
            (including any kickback, bribe or rebate) directly or indirectly, in cash
 6
            or in kind to induce any other person . . . [t ]o purchase, lease, order or
 7          arrange for or recommend purchasing, leasing or ordering any
            property, facility, service, or item of medical care or medical
 8
            assistance for which payment may be made in whole or in part under
 9          any public assistance program.
10           185. Medtronic violated 6 Del. C. § 1201 and knowingly caused hundreds

11    of thousands of false claims to be made, used and presented to the State of

12    Delaware from 2001 to the present by its violation of federal and state laws,

13    including 31 Del. C. § 1005, and Anti-Kickback Act and the Stark Act

14    Requirements, as described herein.

15           186. The State of Delaware, by and through the Delaware Medicaid

16    program and other state health care programs, and unaware of Medtronic's

17    fraudulent and illegal practices, paid the claims submitted by health care providers

18    and third party payers in connection therewith.

19          187. Compliance with applicable Medicare, Medicaid and the various other

20    federal and state laws cited herein was an implied, and upon infonnation and belief,

21    also an express condition of payment of claims submitted to the State of Delaware

22    in connection with Medtronic' s fraudulent and illegal practices.

23          188. Had the State of Delaware known that Medtronic was violating the

24    federal and state laws cited herein, it wound not have paid the claims submitted by

25    health care providers and third party payers in connection with Medtronic's

26    fraudulent and illegal practices.

27          189. As a result ofMedtronic's violations of6 Del C. § 120l(a), the State

28    of Delaware has been damage in an amount far in excess of millions of dollars

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 1    exclusive of interest.
 2           190. Medtronic did not, within 30 days after it first obtained information as
 3    to such violations, furnish such information to officials of the State responsible for
 4    investigating false claims violations, did not otherwise fully cooperate with any
 5    investigation of the violations, and have not otherwise furnished information to the
 6    State regarding the claims for reimbursement at issue.
 7           191. Adolfo Schroeder is a private person with direct and independent
 8    knowledge of the allegations of this Complaint, who has brought this action
 9    pursuant to 6 Del. C. § 1203(b) on behalf of himself and the State of Delaware.
10           192. This Court is requested to accept supplemental jurisdiction of this
11    related state claim as it is predicated upon the exact same facts as the federal claim,
12    and merely asse1is separate damage to the State of Delaware in the operation of its
13    Medicaid program.
14           193. WHEREFORE, Relator respectfully requests this Court to award the
15    following damages to the following parties against Medtronic:
16          To the STATE OF DELAWARE:
17          Three times the amount of actual damages which the State of Delaware has
18          sustained as a result of Medtronic' s fraudulent and illegal practices;
19          A civil penalty on not less then $5,500 and not more than$ 11,000 for each
20          false claim which Medtronic caused to be presented to the State of Delaware;
21          Prejudgment interest; and
22          All costs incurred in bringing this action.
23       To REL.ATOR:
24       The maximum amount allowed pursuant to 6 Del C. § 1205,and /or any other
25       applicable provision of law;
26       Reimbursement for reasonable expenses which Relator incurred in connection
27       with this action;
28       An award of reasonable attorneys' fees and costs; and
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 1       Such further relief as this Court deems equitable and just.
 2                                      COUNT NINE
 3        VIOLATION OF THE DISTRICT OF COLUMBIA PROCUREMENT
 4                             REFORM AMENDMENT ACT
 5          194. Relator re-alleges and incorporate the allegations in paragraphs 1-193
 6    as if fully set forth herein. Additionally, Relator states that the course of conduct
 7    described in this Complaint was a nationwide practice of Medtronic. Medtronic
 8    conducts business in the District of Columbia.        Upon information and belief,
 9    Medtronic' s actions described herein occurred in the District of Columbia as well.
1O          195. This is a qui tam action brought by Relator and the District of
11    Columbia to recover treble damages and civil penalties under the District of
12    Columbia Procurement Reform Amendment Act, D.C. § 2-308.13 et seq.
13          196. D.C. Code § 2-308 l 4(a) provides liability for any person who-
14
            Knowingly presents, or causes to be presented, to an officer or
15          employee of the District a false claim for payment or approval;
16
            Knowingly makes, uses or causes to be made or used, a false record or
17          statement to get a false claim paid or approved by the District;
18
            Conspires to defraud the District by getting a false claim allowed or
19          paid by the District;
20
            Is the beneficiary of an inadvertent submission of a false claim to the
21          District, subsequently discovers the falsity of the claim, and fails to
22          disclose the false claim to the District.

23          197. In addition, D.C. Code § 4-802(c) prohibits soliciting, accepting, or

24    agreeing to accept any type of remuneration for the following:

25          Referring a recipient to a particular provider of any item or service or

26          for which payment may be made under the District of Columbia

27          Medicaid program; or

28          Recommending the purchase, lease, or order of any good, facility,

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 1           service, or item for which payment may be made under the District of
 2           Columbia Medicaid Program.
 3           198. Medtronic violated D. C. Code § 4-802( c) from at least 2001 to the
 4    present by engaging in the fraudulent and illegal practices described herein.
 5           199. Medtronic furthermore violated D. C. Code § 2-308.14(a) and
 6    knowingly caused thousands of false claims to be made, used and presented to the
 7    District of Columbia from at least 2001 to the present by its violation of federal and
 8    state laws, including D. C. Code § 4-802(c), the Anti-Kickback Act and the Stark
 9    Act, as described herein.
1O           200. The District of Columbia, by and through the District of Columbia
11    Medicaid program and other state health care programs, and unaware of
12    Medtronic's fraudulent and illegal practices, paid the claims submitted by health
13    care providers and third party payers in connection therewith.
14           201. Compliance with applicable Medicare, Medicaid and the various other
15    federal and state laws cited herein was an implied, and upon information and belief,
16    also an express condition of payment of claims submitted to the District of
17    Columbia is connection with Medtronic's fraudulent and illegal practices.
18          202. Had the District of Columbia known that Medtronic was violating the
19    federal and state laws cited herein, it would not have paid the claims submitted by
20    health care providers and third party payers in connection with Medtronic's
21    fraudulent and illegal practices.
22          203. As a result of Medtronic's violations of D.C. Code § 2-308.14(a) the
23    District of Columbia has been damaged in an amount far in excess of millions of
24    dollars exclusive of interest.
25          204. Adolfo Schroeder 1s a private person with direct and independent
26    knowledge of the allegations of this Complaint, who has brought this action
27    pursuant to D.C. Code § 2-308.1 S(b) on behalf of himself and the District of
28    Columbia.
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 1          205. This Court is requested to accept supplemental jurisdiction of this
 2    related state claim as it is predicated upon the exact same facts as the federal claim,
 3    and merely asserts separate damage to the District of Columbia in the operation of
 4    its Medicaid program.
 5          206. WHEREFORE, Relator respectfully requests this Court to award the
 6    following damages to the following parties and against Medtronic:
 7       To the DISTRICT OF COLUMBIA:
 8          Three times the amount of actual damages which the District of Columbia
 9          has sustained as a result of Medtronic' s fraudulent and illegal practices;
10          A civil penalty of not less than $5,000 and not more than $10,000 for each
11          false claim which Medtronic caused to be presented to the District of
12          Columbia;
13          Prejudgment interest; and
14          All costs incurred in bringing this action.
15       To RELATOR:
16          The maximum amount allowed pursuant to D. C. Code§ 2-308.15(f) and /or
17       any other applicable provision of law;
18          Reimbursement for reasonable expenses which Relator incurred in
19       connection with this action;
20          An award of reasonable attorneys' fees and costs; and
21          Such further relief as this court deems equitable and just.
22                                      COUNT ELEVEN
23               VIOLATION OF THE FLORIDA FALSE CLAIMS ACT
24          207. Relator re-alleges and incorporate the allegations in paragraphs 1-206
25    as if fully set forth herein. Additionally, Relator states that the course of conduct
26    described in this Complaint was a nationwide practice of Medtronic. Medtronic
27    conducts business in the State of Florida.            Upon information and belief,
28    Medtronic' s actions described herein occurred in the State of Florida as well.
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 1          208. This is a qui tam action brought by Relator and the State of Florida to
 2    recover treble damages and civil penalties under the Florida False Claims Act,
 3    West's F.S.A. § 68.081 et seq.
 4          209. West's F.S.A. § 68.082 provides liability for any person who-
 5
            Knowingly presents or causes to be presented to an officer or
 6          employee of an agency a false claim for payment or approval.
 7
            Knowingly makes, uses, or causes to be made or used a false record or
 8          statement to get a false or fraudulent claim paid or approved by an
 9          agency.

10          Conspires to submit a false claim to an agency or to deceive an agency
11          for the purpose of getting a false or fraudulent claim allowed or paid.
12

13          210. Medtronic violated West's F.S.A. § 68.082 from at least 2001 to the
14    present by engaging in the fraudulent and illegal practices described herein.
15          211. Medtronic furthermore violated West's F.S.A. § 68.082 and knowingly
16    caused thousands of false claims to be made, used and presented to the State of
17    Florida from at least 2001 to the present by its violation of federal and state laws,
18    including the Anti-Kickback Act, and the Stark Act, as described herein.
19          212. The State of Florida, by and through the State of Florida Medicaid
20    program and other state health care programs, and unaware of Medtronic' s
21    fraudulent and illegal practices, paid the claims submitted by health care providers
22    and third payers in connection therewith.
23          213. Compliance with applicable Medicare, Medicaid and the various other
24    federal and state laws cited herein was an implied, and upon information and belief,
25    also an express condition of payment of claims submitted to the State of Florida in
26    connection with Medtronic's fraudulent and illegal practices.
27          214. Had the State of Florida known that Medtronic was violating the
28    federal and state laws cited herein, it would not have paid the claims submitted by
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 1    health care providers and third party payers m connection with Medtronic's
 2    fraudulent and illegal practices.
 3          215. As a result of Medtronic's violations of West's F.S.A. § 68.082 the
 4    State of Florida has been damaged in an amount far in excess of millions of dollars
 5    exclusive of interest.
 6          216. Adolfo Schroeder is a private person with direct and independent
 7    knowledge of the allegations of this Complaint, who has brought this action
 8    pursuant to West's F.S.A. § 68.083(2) on behalf of himself and the State of Florida.
 9          217. This Court is requested to accept supplemental jurisdiction of this
1O    related state claim as it is predicated upon the exact same facts as the federal claim,
11    and merely asserts separate damage to the State of Florida in the operation of its
12    Medicaid program.
13          218. WHEREFORE, Relator respectfully requests this Court to award the
14    following damages to the following parties and against Medtronic:
15          To the STATE OF FLORIDA:
16          Three times the amount of actual damages which the State of Florida has
17          sustained as a result of Medtronic's fraudulent and illegal practices;
18          A civil penalty of not less than $5,000 and not more than $10,000 for each
19          false claim which Medtronic caused to be presented to the State of Florida;
20          Prejudgment interest; and
21          All costs incurred in bringing this action.
22          To RELATOR:
23          The maximum amount allowed pursuant to West's F.S.A. § 68.085 and /or
24          any other applicable provision of law;
25          Reimbursement for reasonable expenses which Relator incurred in
26          connection with this action;
27          An award of reasonable attorneys' fees and costs; and
28          Such further relief as this court deems equitable and just.
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